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                        THE RAISING RIVALS? COST FORECLOSURE
                    PARADIGM CONDITIONAL                                                    PRICING PRACTICES
                                    AND THE FLAWED INCREMENTAL
                                                             PRICE COST TEST

                                                                 STEVEN            C SALOP



         predatory
         can



         and
               Myriad


                     pricing

                     resale
                                types     of business conduct

                     harm consumers This conduct
                                   vertical

                                price maintenance
                                                  mergers most favored nations
                                                                                    can involve

                                                                                 includes        exclusive
                                                                                                           exclusionary



                                                                                                           contracts

                                                                      among others There are two overarching
                                                                                                                       dealing tying
                                                                                                                                         conduct



                                                                                                                                refusals to             deal
                                                                                                                                                             that




                                                                                                                                                             law
         and economics                   paradigms             for        analyzing       exclusionary             conduct              in     antitrust?

         predatory              pricing    and raising rivals?                    costs     RRC foreclosure                    1
                                                                                                                                   This raises the

         question           of    which         paradigm             is    better   suited        for    addressing            various               types of

         allegations             of anticompetitive                   exclusion




         Tobacco
               Sometimes the choice                       of    paradigm            is   obvious When                  U S Tobacco                     ripped

         out the displays                of its competitor                  that    conduct        clearly       fit    the   RRC foreclosure
                                                                                                                                                    US

         predatory
         paradigm 2 The                  RRC foreclosure                    paradigm            similarly would               apply           if


                        had      demanded             exclusive            dealing        instead          When          Continental                  Baking
         offered         very      low prices           for     pies in       Salt       Lake City that conduct                         fit    the

                     pricing       paradigm 3 However other conduct                                      may not be so obvious



                     Professor of Economics              and    Law Georgetown              University      Law Center             and Charles River

         Associates         I   would     like   to   thank     Jonathan      Baker       Leah    Brannon     Rick       Brunell          Andrew Gavil
         Jonathan        Jacobson       Tom Krattenmaker Doug Melamed Serge Moresi Irv Scher Joshua Wright
         the    participants       at   the FTCDOJ Public Workshop  on Conditional Pricing Practices and the

         editors for helpful             conversations          or    comments       on    an    earlier   draft       The    opinions here             do not
         necessarily        reflect     the views       of    GULC firms with which I have                    consulted            on    these       issues or

         other       CRA consultants
                1
                    For earlier discussions            of the    two       paradigms      see   Steven     C Salop Exclusionary Conduct
         Effect       on Consumers and            the   Flawed Profit Sacrifice Standard                   73 ANTITRUST L J 311 315? 18
          2006          hereinafter      Salop        Exclusionary          Conduct       See     also   Susan     A Creighton                et    al Cheap




         pricing
         Exclusion                  LJ 975 2005
                           72 ANTITRUST




         Williamson
                    See Conwood Co L P v U S Tobacco Co 290 F 3d 768 776? 79                                                            Cir 2002
                2
                                                                                                                               6th
                3
                    See Utah      Pie   Co v Cont?l Baking                 386   U S 685 697 1967 Any doubts                            left       by Utah    Pie

         that       the pricing    need not be predatory were                 resolved     by Brooke       Group Ltd          v Brown
                Tobacco         Corp 509 U S 209                 221? 22         1993 which clarified that the same                       predatory

                threshold applied          to    both    monopoly and price discrimination                   cases




                                                                                  371
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              Some types of conduct                              might appear                by analogy             to    fit    into both             paradigms 4
         In particular              consider           conditional pricing                            practices           CPPs the focus                       of    this


         article         CPPs include                 pricing          that       is   conditioned              on exclusivity                  or      some other
         type of favoritism                     in a        customer?s purchases or input                                       supplier?s             sales       CPPs

         include         payments               for   exclusivity                  loyalty        discounts              or     premiums in the case
         of input          purchases                  and bundle                   discounts            or    payments On the one hand
         predatory             pricing might                    seem         to    apply         because           the conduct                 involves        lower




         explicit
         prices       On the other hand                           RRC foreclosure                       might       seem to apply because                             the

         conduct          is   analogous              to        exclusive           dealing            and tying and                   the    condition            often

         creates significant foreclosure                                   and near exclusivity                         However unlike the ?




         customer?s
                    coercion?              in   these contracts                     CPPs induce                 the     near exclusivity with the

         ? promise?            of     lower           prices          or     payments             that       are      ?conditional?                    on the
                          willingness             to       forgo        some purchases                       from competitors                            Or stated
         equivalently the                   CPPs involve                     ?threats?           of    higher prices              if    the     customer            does




         attack
         not      satisfy the         condition

              The choice              of    paradigm                  has important implications                                for     the     legal      analysis

         While       the       predatory          pricing paradigm                           would attack                the     ? level?          of     the prices




         conduct
         under the             Brooke Group standard the                                      RRC foreclosure                     paradigm                would
                   the    ? condition?                placed          on     the prices under the                        rule     of reason


              This                    summarizes                  the        two                        paradigms                       exclusionary




         situations
                         article                                                       antitrust                                for

                   and        their    properties                in     order          to    understand             which              legal    framework              is

         more appropriate                   for       analyzing              competitive               effects        under       particular fact




         analyzed
                    The        article       then applies                  the analysis                to    CPPs5


         characterized
              The     analysis         in this article                  suggests             that      CPPs generally                    are    better




         consumer
         measure
                         as    belonging              to    the       RRC foreclosure                       paradigm They                      should         be
                                                                                                                                                   6
                     like      near exclusivity                       contracts             not        as   predatory            pricing                The    proper

         focus should               be placed on the magnitude of the foreclosure                                                        and possible
                     harm           rather       than whether                     or not         the    firm is pricing                 below           some
                   of costs         Economic                    analysis          also      implies         that   whether             there       is substantial


         foreclosure            should           be        gauged            by     the      impact          on     the        competitors                including

         their     costs output                 and ability to enter                        or   expand           The     fraction            of   customers or

         suppliers            foreclosed              may be            relevant             evidence              but    it     is     not     determinative




              4
                  Sean    P Gates Antitrust by Analogy                             Developing           Rules     for   Loyalty Discounts                and Bundled
         Discounts        79    ANTITRUST             L J 99 122? 24 129? 33 2013
              5   CPPs may be          used      to   achieve          maintain or enhance                  market or monopoly                  power They           may
         be   subject     either to        Section     1 or Section               2 depending           on   whether       they        involve         contracts     They
         also     may be subject           to Section           5 of the      Federal        Trade      Commission Act Whichever                           standard    is


         applied     however          the economic               analysis and basic               antitrust     concerns         are the       same Competitive
         effects    analysis is similar under each                      of   these statutes and a common                        rule of      reason      structure    can

         be applied       to   adjudicate        cases involving                  these     restraints

              6
                  This   was    the approach               of   the    Third Circuit          in ZF Meritor             LLC v           Eaton      Corp       696    F3d
         254 281          3d Cir 2012
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          consumers
          2017                         THE         FLAWED                INCREMENTAL                 PRICE COST TEST                                            373


          The main focus of the entire analysis should be placed on the impact on
                           in    the     output         market Traditional                      rule       of reason             and    antitrust         injury

          analyses capture                   anticompetitive                     consumer harm from CPPs                               better      and more
          consistently             than a pricecost                        test




          failing
            While           the    incremental                    price cost        test    might seem appealing                        as a       bright line

          standard          it   actually          is   fundamentally                flawed First it                is    not easy        to   implement

          raising administrability                            concerns           Second        the     test    is   not reliable raising error

          concerns              Passing the test does not                          rule out       anticompetitive                 exclusion          and
                 the   test      does not prove anticompetitive                                   exclusion           either          most or all         of    the

          time and whether                    or   not the entrant                  is   equally       efficient               Nor is    it   the case          that

          only       equally           or    more            efficient       entrants         have procompetitive                        effects          on the
          market The               test      also fails            to provide        reliable        evidence of antitrust                     injury         As a
          result using the                  test also would                  not point towards                optimal deterrence                         Instead




          prepared
          courts       should          rely    on the               RRC foreclosure               analysis          and         the    facts   relevant           to

          that    analysis         to    evaluate                 harm to competition                  and consumers under                         the    rule of

                       At the same time to show


          counterbidding
          reason                                                                   antitrust      injury the              plaintiff      should          be

                      to    explain          why        it        failed    to   obtain       sufficient       distribution              by

                     or how        its      costs were raised                    by the exclusionary                 condition            rather         than by

          the defendant?s                   lower        price


            However                the        general              appropriateness              of     the    RRC foreclosure                      paradigm




          condition
          does not          mean            that   the            predatory        pricing paradigm                  is    never        relevant           CPPs
          can    form the basis of a predatory                                   pricing strategy               While the dominant                        firm?s

          average          prices           including              any discounts may remain above its                                    costs        the

                      may lead to its                   incremental               prices      falling      below          its   costs in the relevant
                                                                    7
          range       of    contestable sales                           In this    situation the conditional                          pricing      may raise
          predatory             pricing concerns                        under    Brooke Group even                        if    the   RRC foreclosure



          predatory
          analysis          does not indicate                       harm to competition


            It       follows       that      the plaintiff                 could    choose        to   allege a           CPP strategy              as

                     conditional pricing                           Extending         the Brooke              Group analysis                   to   predatory

          conditional             pricing          the            appropriate        test     would be the incremental                             price cost

          test
                 8
                     While        this       incremental                 price cost        test   may still          lead        to false      negative or

          false      positive          errors it             is   the    natural     price cost         test    to    use under the reasoning

          of Brooke              Group and it would lead                                 to   fewer        errors than                would        the    use of

          average          discounted              prices




          discounting
             7


             8
                 Cascade

                 See id



          reargued
                       involving

                           en
                                 Health




                                 banc
                                              Sols

                                 distinguishing

                                            bundling
                                                        v PeaceHealth
                                                             Brooke      Group
                                                                  and following
                                                                                   515

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                                                                                           F3d 883 901 9th Cir 2008
                                                                                           US
                                                                                     LePage?s
                                                                                                  at   222 224
                                                                                                     Inc
                                                                                                                         which

                                                                                                           v 3M 324 F3d 141
                                                                                                                                  did    not   deal

                                                                                                                                               3d
                                                                                                                                                         with

                                                                                                                                                     Cir 2003
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               This         article      focuses           on monopoly and dominant                                       firm    markets where                    the

          CPPs raise              the      greatest          concerns            9
                                                                                      CPPs can allow non dominant                                     firms       that

          lack market             power         to    achieve            that    power           particularly              where      parallel exclusion


          by multiple firms can lead                              to anticompetitive                    coordination                 But in this market




          excluding
          structure competition from                                non excluded                  firms including                 substitute           products

          may prevent                  the achievement                     and exercise of market power                                    and        consumer

          harm Procompetitive                          efficiency           benefits            also carry more weight                         if    the

                     firm is not          dominant 10




          exclusionary
               The remainder                    of    this article              is   organized            as    follows           Part     I    explains          and
          compares the predatory                           pricing         and RRC foreclosure                            paradigms        for

                     conduct       Part        II    explains           the input            and customer foreclosure                               mechanisms

          that       can occur           for        exclusive           dealing           CPPs and other exclusionary                                      conduct
          and provides                 examples              from         the        case      law Part             III    applies        this       analysis          to

          CPPs and explains                         why the RRC                      foreclosure          paradigm               generally           provides          a
          better        analytic         fit    than       the predatory                pricing         paradigm               Part   IV explains                 why
          the use of an incremental                           price cost              test     should        not be used as               a threshold              test


          for either the plaintiff                        or the defendant                     under the         RRC           foreclosure           paradigm
          Part       V analyzes predatory conditional                                     pricing        and briefly applies                    that       analysis

          to     the recent Eisai                   case 11 Part VI concludes and                               briefly          discusses counseling

          concerns



                           I    ANALYZING                     THE TWO EXCLUSIONARY                                                CONDUCT
                                                                  PARADIGMS

               The two general paradigms of exclusionary                                                 conduct? predatory                         pricing       and
          RRC          foreclosure12?                focus         on     different             aspects        of     exclusionary              conduct           and
          take        very      different           views     of    the relevant                antitrust       risks In order                 to    understand

          the        law and economics of exclusionary                                         conduct          and CPPs in particular                            it   is

          necessary             to distinguish               between these                     two paradigms



                                               A THE PREDATORY PRICING PARADIGM
               Predatory           pricing           is   one paradigmatic                      type      of    exclusionary              conduct            In the

          simplest             rendition predatory                      pricing involves                an across the board reduction                                  in

          prices           intended        to       permit        a deep pocket                  defendant                to   win    a   war of           attrition




          conduct
                 9
                     Because     the   issues are very            similar in monopoly and dominant firm markets                                      the two terms

          will       be used    more or less interchangeably                         in this    article
               10
                     This analysis comes              with    the       usual    caveat        that   even     where       the conduct     by        a competitive

          firm is determined              to   be procompetitive                 that   showing        alone     does not imply that the                   same
                     by a dominant firm would be procompetitive

               11    Eisai Inc     v Sanofi Aventis                 US LLC 821 F 3d 394 3d Cir 2016
               12
                     For   a   general    analysis         see    ThomasG Krattenmaker   Steven C Salop Anticompetitive

          Exclusion            Raising Rivals?            Costs    to   Gain     Power         over Price 96              YALE   L J 209 1986                see also

          Salop        Exclusionary            Conduct       supra note          1
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                                                                                                                                           13
          against            a less well financed                              entrant           or     small competitor                         The    reduction           in

          prices            during the predatory                               phase          of      a predatory                pricing         strategy       involves




          Predatory
          shortterm profit sacrifice                                 or actual losses                         by the predator These losses then

          might be recovered                             by supracompetitive                            prices            during the          recoupment             period

          after        the entrant              exits from                the       market            or is disciplined                  to     raise   price

                      pricing           is    a risky investment                         in   exclusion               because        the        predator      sacrifices

          profits in              the    short run but                   may be unable to recoup them                                     in     the long       run The

          predator               may blink               first    in light           of    the        fact        that    its   profit sacrifice            relative        to

          more accommodative                                   pricing              exceeds             the       losses        borne     by      the   entrant        as    a
          result        of        the   predator?s higher market                                    share The entrant                         may merely reduce
          its    output           to    conserve resources                           and wait out the attack                             The      entrant       also   may
          obtain            the       necessary financing                           to   withstand                the attack        for       a significant          period

          of time and eliminate the                                credibility                of   further predatory                    pricing threats Either

          way the entrant may not exit And even                                                              if    the entrant          does exit subsequent

          re entry by                   either           the     entrant            or    competition                     from others may prevent                          the

          predator               from recouping                    its    profit sacrifice                        or losses14        This reasoning                  led   the




          pricing
          Court             in    Matsushita               to     conclude                that      ? predatory                 pricing       schemes are            rarely




          exceed
          tried        and even more rarely successful.? 15


                The impact on consumer welfare                                                from such                   ?deep pocket?             predatory
                                                                                                                     16
                     also        is unclear              according             to    the paradigm                          Consumers              benefit       from the




          particularly
          lower         prices          during the predatory                              phase These benefits                           potentially          could

                       the       harms         suffered            by consumers during                               the        recoupment          phase
                       if    the predatory                     pricing period continues                                   for    a long time17              Moreover
          there        may never                be        a recoupment                    phase          Failed           predatory             pricing    is   a gift      to


          consumers18




                13
                     In addition         to   this   ? war       of attrition?           theory       predatory pricing             may be motivated            by a desire
          of the predator to gain                    a   reputation for predation                     that    will   deter      future entrants in addition to any

          benefits          from driving           the     targeted        entrant         out     of   the       market        Christopher      R Leslie Predatory



          recoupment
          Pricing           and   Recoupment               113 COLUM                 L REV 1695 1728? 32                          2013
                14   However            the new competitors might be deterred                                     by the fear of     a   predatory attack        by a firm

          that       has established           a reputation              for   predation           which           would     increase    the     likelihood     of

                       See        eg     Patrick         Bolton      Joseph          F Brodley                     Michael       H Riordan Predatory Pricing
          Strategic          Theory          and Legal Policy                  88    GEO L J 2239                    2000
                15
                     Matsushita          Elec      Indus          Co v Zenith              Radio Corp                475     U S 574 589            1986
                16
                     See e        g
                            John McGee Predatory Pricing The Standard         Oil NJ Case 1 JL          ECON




          pricing
          137        1958 Some recent economics literature has argued that Standard Oil actually did engage in
          predatory pricing contrary to                           McGee?s           claims See James                 A     Dalton        Louis      Esposito Standard

          Oil And Predatory                    Pricing         REV INDUS ORG 245 2011 James A
                                                                 Myth     Paralleling            Fact        38

          Dalton     Louis Esposito Predatory Price Cutting and Standard Oil A Re Examination of the

          Trial Record 22 RES L      ECON 155 2007 For other examples of successful predatory
               see Jonathan Baker Exclusion as a Core Competition Concern 78 ANTITRUST      LJ 527
          542? 43     n76 2013 and the references cited therein
                17
                     See     e    g Matsushita 475 U S     592? 93             at


                18
                     Frank        H Easterbrook The Limits of Antitrust                                      63    TEX      L REV 1 26             1984
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          presumptively
             Based on this reasoning                                     the      Supreme Court has taken                              a very light handed




          defendant?s
          approach            to        allegations               of predatory                   pricing       Price        cuts       are      considered




          exceed
                                   procompetitive                        Despite the              fact    that      information about the

                        prices           and costs are                       in       the    hands       of     the    defendant                  the     burden         of

          production               is   placed         on the plaintiff                     to   show     that      there       is    below cost             pricing
                                                                                                                                                                          19



          The      plaintiff             also         must show                       a high       likelihood          of         recoupment                 including

          whether            the expected                    profits         during the recoupment                           period          likely       would
                   the       losses during the predatory                                    period taking              into account               the time value

          of money
                              20
                                    The recoupment analysis also may serve as a basis for evaluating




          discounts
          whether            or    not there           is       consumer welfare harm or as a proxy for that analysis
          While not discussed                            in       Brooke              Group         the defendant                 can       attempt          to    justify




          complements
          prices     that         are     below          standard measures of cost                               as   legitimate introductory

                         experience                   curve           pricing          procompetitive                 pricing          of    demand
                        sales into              a     two sided market                           or   excess        capacity             In these            ways        the

          predatory           pricing paradigm                              is   very defendant                friendly




          paradigm
                                                     B THE RRC FORECLOSURE PARADIGM
             The modern approach                                  to    foreclosure               embodied            in   the       RRC foreclosure
                        is    very different                      The            RRC        foreclosure          paradigm              generally describes

          exclusionary                  conduct              that       totally         or   partially          ? forecloses?               competitors             from
          access        either to             critical          inputs           or   customers          with the           effect         of   causing           them to
          raise their prices                   or     reduce           their output               thereby allowing the excluding                                  firm to




          exclusivity
          profit     by       setting           a    supracompetitive                        output       price        with        the      effect      of harming

          consumers A rule of reason analysis which                                                       is   commonly applied                         to

               arrangements                     and other               exclusionary                conduct         with        its   burden shifting test
          is entirely             consistent             with          the       RRC foreclosure                    paradigm 21

             As explained                      in this article                    RRC foreclosure                   conduct           is    more        likely      to   be

          attempted           and more                 likely          to    harm consumers than                       is    predatory            pricing These

          differences              imply a greater policy concern                                       with     false      negatives than for preda




             19
                  Brooke      Grp Ltd v Brown                                Williamson           Tobacco       Corp 509 U S 209                    222      1993
             20
                  Id at 224? 25




          Gregory
             21   For   example               this    was       the    basic      approach        set   out    by   Justice       O?Connor         in her Jefferson

          Parish     concurrence                Jefferson Parish                  Hosp       Dist     No 2 v Hyde                 466      U S 2 44? 46              1984
           O?Connor           J concurring                   Some       commentators              have suggested           that   the consumer           welfare     harm
          standard      be replaced             or supplemented                   with a requirement that the defendant?s                          conduct        involves

          ? profit sacrifice?            or    makes        ?   no economic            sense?     absent anticompetitive                 effects     See     eg
               J Werden                 Identifying      Exclusionary                 Conduct       Under      Section      2 The ?No Economic                     Sense?

          Test    73 ANTITRUST                 LJ 413 2006 A Douglas                                Melamed         Exclusive         Dealing Agreements                 and
          Other Exclusionary                   Conduct? Are                 There      Unifying       Principles           73     ANTITRUST        L J 435 2006
          For an    explication            of the flaws            in   this      standard see Salop             Exclusionary            Conduct        supra note        1
          For one recent            version          of the      burden shifting rule               of reason test see            Agnew         v NCAA 683 F3d
          328 335? 36              7th Cir 2012                  For    a decision theoretic             approach          to the     role      of presumptions and

          evidentiary standards                 in     the      rule    of reason           see Steven        C Salop The Evolution and                       Vitality    of

          Merger     Presumptions                    A Decision Theoretic                    Approach          80 ANTITRUST            LJ 269           2015
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          tory pricing As                      a matter of standard decision theory these differences                                                          imply

          that        antitrust             law should take             the        stronger          approach towards                      conduct        that    fits



          within           the     RRC foreclosure                     paradigm


                There           are several            reasons         for        these   heightened               concerns                First unlike           the

          paradigmatic                      view      of predatory            pricing        successful             RRC foreclosure                      does not




          recoupment
          require

          recouped



          likely          to
                            a risky investment
                                 with

                                   often
                                              some probability
                                               occurs

                                 succeed which also means that
                                                                  or losses

                                                                               at

                                                              simultaneously with
                                                                                      during

                                                                                    some        later




                                                                                                it
                                                                                                     an




                                                                                                      is
                                                                                                            initial




                                                                                                        RRC conduct Thus
                                                                                                           more likely
                                                                                                                         period

                                                                                                           point in the future
                                                                                                                                       that




                                                                                                                                      to
                                                                                                                                                 may only be
                                                                                                                                                   Instead

                                                                                                                                                    it


                                                                                                                                           be attempted
                                                                                                                                                          is    more




          output
                Second             unlike predatory                   pricing successful                    RRC conduct                    does not require

          the        exit      of rivals or            even the permanent reduction                                in    competitors?              production

          capacity               If     the    marginal costs of                     established             competitors               are raised               those

          competitors                   will    have the incentive                   to   raise their            prices        and reduce               their

                      even        if    they remain             viable            This    also       means         that     RRC conduct                   is    more

          likely          to     succeed and therefore is more                                  likely       to    be attempted


                Third unlike                   paradigmatic              predatory           pricing             RRC       foreclosure              conduct          is




          conduct
          not necessarily                     more costly to the monopolist                                than    it    is to       the   excluded rivals

          Some types of foreclosure would                                         qualify    as      ?cheap exclusion.? 22 In the case of
          competing                for       the    attention         of distributors the                   rival       may have            to   pay more A
          lower           cost         of   foreclosure          incurred           by the excluding                    firm means               that     the




          efficiency
                      is    more likely                to   succeed       and therefore more likely                                   to   be attempted




          conduct
                Fourth             while            RRC      exclusionary             conduct              can     entail        procompetitive

                            benefits           those        benefits      are not inherent                     in contrast             to    the    shortterm

          benefits             of lower               albeit predatory                prices          There        can     be ?naked?               RRC

          characterization
                      that

                           of
                                 lacks

                                  naked
                                              any valid and cognizable
                                                    exclusionary              conduct
                                                                                             efficiency

                                                                                             was present
                                                                                                                    benefits

                                                                                                                          in     a
                                                                                                                                      23
                                                                                                                                           This

                                                                                                                                      number             of    cases

          including Lorain                          Journal 24 JTC Petroleum 25 Conwood 26 and Dentsply 27




          decision
                22
                     See Creighton             et   al supra note 1
                23
                     Id
                24
                     Lorain       Journal       suggests      no cognizable          procompetitive            rationale       for the       newspaper?s

                     to offer     only all      ornothing       exclusive contracts             to   advertisers Lorain               J Co v United States
          342        U S 143 153? 55 1951                      adoption       of    exclusive        advertising        policy    that     deprived      competing




          pricefixing
          radio       station      of advertising           revenue
                25   Judge       Richard       Posner       suggests    that the      sole   purpose        of the defendant?s              denying       asphalt    to

          JTC was           to   prevent       it    from    acting    like   a    maverick competitor              and disrupting an              alleged

                                                                        who                                                                      JTC




          competitors?
                       cartel of        the   other    applicators                also bought        asphalt     from the suppliers                       Petroleum

          Co v Piasa Motor                     Fuels    Inc 190 F 3d 775 778? 79                        7th Cir 1999
                26
                     Conwood            Co v U S Tobacco               Co 290 F 3d 768 788 6th Cir 2002                                    destroying

                     display       racks
                27
                     The    Dentsply exclusive                arrangements in principle                    could      have prevented             free    riding     But

          the     court     rejected         the procompetitive         justifications       for the        exclusivity          United      States     v Dentsply
          Int?l      Inc       399     F3d 181 196? 97 3d Cir 2005
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            Fifth          even       if    the exclusionary                     conduct         is       not       a naked           restraint       successful

          RRC foreclosure                    conduct does not always                             involve               large          short term consumer

          benefits          unlike paradigmatic                           predatory           pricing               As a result ? net? consumer
          harm        is   more       likely          on        balance          even        after    taking               the    benefits      into      account
          Thus        there     also are greater                      risks       to   competition                   and consumer welfare                        from
          RRC foreclosure                    than          from predatory                    pricing


            At the same time however harm to competition                                                               and consumers from RRC
          foreclosure          conduct                is   not inevitable               It    should not be subject                          to a    standard of




          costeffective
          per                                Competitors may not                             be significantly disadvantaged                                    In the




          sufficient
                 se illegality

          case     of      input foreclosure                      they         may be         able        to        substitute         to    alternative




          competitive
                            inputs           In the case of customer                            foreclosure they                        may have a
                   number          of       alternative              customers              or distributors to remain a strong

                            constraint                     In    addition               even         if         certain           targeted           rivals       are

          disadvantaged                    there       may be sufficient                      competition                  from other non excluded
          competitors           or substitute products                            to   prevent the defendant                            from raising prices
          in the      output      market Thus                        in a      RRC foreclosure                      case the plaintiff               must prove

          ?power           over    price?              i    e probable harm                     to        competition                  as    well    as     ? raising
          rivals?       costs?         i e harm to competitors 28

                                  RRC foreclosure

          procompetitive
            Moreover                                                        conduct          may not be naked Some exclusionary
          conduct          leads      to     cost savings                   product          improvements                        or   creation       of

                           incentives             e g by eliminating free riding However the existence of


          efficiencies
          such benefits            to       the   excluding               firm does not necessarily                               mean that consumers
          gain     an overall                i   e ?net? competitive                           benefit               from the conduct                     The
                           may not               be    passed          on       to    consumers                if    the     conduct          simultaneously

          raises      the    costs          of competitors                     or barriers        to       entry or              expansion           Evaluating

          the    likely      net impact                on consumers involves                          comparing                   the   likely       magnitudes




          probabilities
          of the opposing                    forces             leading         to     higher    versus               lower prices              to    see      which
          effect      on consumers                    is likely        to      dominate This type of balancing of
                 is    carried        out        in    the rule           of    reason analysis




          reason
                       C THE ROLE OF PRICE COST TESTS IN THE TWO PARADIGMS
            Predatory             pricing             and RRC foreclosure                       have           very different                mechanisms            for


          causing          anticompetitive                      effects        Because of these differences there is no
                 to    think      that       they should                  be evaluated using                         the    same evidentiary factors




          illustrated
          or governed             by the          same liability                     standards


            The general irrelevance                                  of   a    pricecost         test          to     RRC conduct                can      be
                      and explained with                         a    simple example                  of       a monopolist facing emerging
                                                                                       29
          entry    by an equally                  efficient           entrant                Assume            that the          monopolist is              initially




            28
                 Krattenmaker                 Salop         supra note          12
            29
                 This      analysis        also can        be applied          to conditional        pricing          practices        See   infra   Part   IV
20




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               charging    a   price   of     100 and   selling   400 units Assume   that   the monopolist

               has marginal costs        of    50 so that its profit margin is   50 per unit and it earns
               total   operating   profits     of
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                                                       D THE CHOICE OF PARADIGM


          allegations
            Certain exclusionary                        conduct           clearly           fits    into        one or the other paradigm
          For    some conduct                   the    appropriate             paradigm             may depend on the exact
                      being       made by the plaintiff                    in    its    complaint                 For example consider the
          Weyerhaeuser Section 2 case 32 The plaintiff?s complaint                                                            involved           allegations

          that   the defendant                  bid    up the price of timber input used                                        to    produce               lumber




          monopsony
                       33
          output            The allegations              were analogous                     to     predatory            pricing       but applied                 to a

          buyer        in    the    input       market             The    plaintiff            claimed             that      the     defendant              would

          cause              sawmill           competitors                         from the                   market        and thereby            gain




          buyside
                      its                                            to   exit

                                                                                                          34
                            power         in   the input           market       for     timber                  The Court characterized                           the
                                                                                                                       35
          conduct           as   ? predatory           bidding?          for    the timber input


            The ? predatory                    bidding?           alleged       by the         plaintiff          was designed              to    gain

                  market           power        in    the input        market           for        timber 36 By contrast                     the        plaintiff




          predatory
          did not           allege    that      the    overbidding              was an attempt                         to   raise     its   competitors?

          input costs of timber and thereby                                gain market                   power         in the       output market                  for

          lumber This allegation                       might be           called        ?RRC overbidding.?                           Whereas ?
                  bidding?           is   designed           to    gain   buy side market power                               in    the input               market
          ? RRC overbidding?                     is    designed           to    gain sell side market                         power         in   the output

          market 37

            The Weyerhaeuser                          Court appeared                   to    accept            this    key     distinction             between




           appear
          the    two paradigms

                 If   the    predatory         firm?s competitors               in the input market                    and the output            market
                                 same then predatory



           conditions
                 are the                                             bidding can also lead to the bidder?s                               acquisition

                 of    monopoly            power       in the       output      market             In    that    case       which     does       not

                            to be present            here     the   monopsonist               could under               certain      market




          showing
                                                                                                                                                             38
                             also    recoup      its   losses       by raising output                   prices to monopolistic levels




            The Weyerhaeuser Court applied a price cost                                                         test   to   predatory            bidding           on
          the    buy side It              reversed       the      lower court decision                          because        there was          no




          appropriate
                 of    short term losses                 from below cost pricing However had the                                                        plaintiff


          alleged       RRC overbuying                   instead the price cost test                                   would       not   have been
                             The      fact      that    the       defendant        would                be able        to   achieve or maintain a

          high monopoly price for lumber would                                              make         it    highly       unlikely        that       it   would
          need    to    bid up to the point where                         its   costs exceed that price Indeed the higher




            32
                 Weyerhaeuser             Co v Ross Simmons Hardwood                               Lumber        Co 549 U S 312 2007
            33   Id at 316
            34
                 Id
            35
                 Id
            36
                 Id at 316? 17
            37
                 See Steven         C Salop Anticompetitive Overbuying by Power Buyers 72 ANTITRUST                                                         LJ 669
          2005
            38
                 Weyerhaeuser 549                US     at    321 n 2      emphasis           added
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          price of lumber would make it                                        less likely                that       it     would be necessary to bid for
          timber up               to       level       where           its   revenue           falls          short of             its      costs




          pricing
                When            both         types          of    conduct               are    present                it     would make                     sense         to       apply

          whichever                   paradigm              is    appropriate             for        each           type of conduct                         The paradigms
          apply         to      particular                categories           of       conduct                not         to     particular             defendants                  This

          was the approach in Microsoft where there were allegations of predatory
                     as well               as allegations                of several             types           of         RRC          foreclosure            conduct 39                  It


          would thus be erroneous                                  to artificially              limit          the         antitrust             analysis      in a case                to a




          Meritor
          single paradigm                          when          the     conduct          is    multifaceted 40




          suggested
                For other types of conduct                                    there       may be more controversy                                         about         the     proper

          paradigm               to        apply This has been the case                                       for    CPPs For example in ZF
                      the court applied                     the        RRC foreclosure                        paradigm However the court
                           that       it    would have applied                          the predatory                       pricing paradigm                       if    price        was
          the        ? clearly predominant                             mechanism?                for          exclusion 41


                In     Eisai the Third                       Circuit          reiterated             that           view 42            It    went on           to       affirm            the




          evidence
          district         court?s            decision            to    grant           summary judgment                               to    Sanofi         under         a rule of

          reason           analysis            because             Eisai           had    failed          to        introduce                sufficient            evidence               of
                                                                                                    43
          foreclosure                  and     anticompetitive                      effects               Finally having                          rejected          Eisai?s

                        of      foreclosure the court                              of   appeals concluded                              that although                    the    district




          appeal
          court        had rested                   its   decision            to    grant       summary judgment                                   on application                    of a




                39   United States            v Microsoft Corp 87 F Supp 2d 30 35                                                  DD C 2000 The                        district     court




          argued
          did not       find     liability          for   predatory pricing and the government                                     did      not pursue        this      issue      on

                     United       States       v Microsoft Corp 253 F 3d 34 58                                            DC Cir 2001
                40
                     The     scholarly analysis of Standard Oil case                                 reflects              this   diversity        of allegations              The      case

          has been         analyzed           as    predatory pricing and controversy                                reigns over the correctness                         of   that    view

          today        IDA      TARBELL             THE HISTORY              OF THE      STANDARD              OIL         COMPANY               1904 McGee                supra        note

          16 Dalton                   Esposito            supra note         16     Benjamin Klein                   and Elizabeth                Granitz subsequently

                      that      the    case        actually       involved         collusive         RRC behavior                       Benjamin           Klein              Elizabeth

          Granitz          Monopolization                  by ? Raising Rivals?                Costs?          The         Standard          Oil    Case      39        J L ECON            1

           1996         Klein         and Granitz argue                that   Standard         Oil and          the railroads               cooperated        to    raise      the costs

          of Standard            Oil?s       rivals       and then        essentially         shared          the monopoly                  profits      through rail          transport

          prices       For a related               but    somewhat           different        view       of    the    case see George                    L Priest Rethinking
          the    Economic              Basis        of the Standard Oil                  Refining         Monopoly                 Dominance               Against Competing

          Cartels          85   S CAL L REV 499 2012 and                                  the   follow up                 essay Benjamin Klein                     The ? Hub              and
          Spoke?        Conspiracy                 that   Created the Standard                  Oil       Monopoly                 85    S CAL L REV 459 2012
          Daniel Crane                also argues          that   there appears           to    be a          RRC         element        in the     case Daniel               A Crane



          outweigh
          Were        Standard             Oil?s    Rebates       and Drawbacks                Cost Justified                     85   S CAL L REV 559                          2012
                41
                     ZF Meritor LLC                   v Eaton Corp 696 F3d 254 274 3d Cir 2012 ?                                                           W   hen       price       is   the

          clearly predominant                      mechanism of              exclusion        the    price cost             test   tells     us that so long             as the price

          is   above cost             the procompetitive                  justifications        for and the                  benefits        of    lowering prices              far

                       any      potential          anticompetitive            effects.?         Part          V infra discusses                   fact    situations          where the
          conduct          can    be        analyzed        as    predatory conditional                       pricing           under        an    extended Brooke                 Group
          analysis

                42
                     Eisai Inc             v Sanofi Aventis                  US LLC 821 F 3d 394 409                                        3d   Cir 2016
                43
                     Id at 407? 08
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          pricecost               test       it    was unnecessary                  to     decide        whether           the        price cost           test   would
          apply        to        Sanofi?s           conduct           44




                       II        INPUT              AND CUSTOMER FORECLOSURE IN THE RRC
                                                               FORECLOSURE PARADIGM

                In     applying the                    RRC       foreclosure             paradigm            to     exclusive                dealing        CPPs or



          competition
          other exclusionary                           conduct         under the           rule of       reason            it    is    useful to distinguish

          two foreclosure                         mechanisms by which exclusionary                                       conduct can                 harm
                                                                                                                                  45
                         ? input            foreclosure?               and ?customer                  foreclosure.?                      Proper        analysis          of

          CPPs requires an understanding                                      of this        distinction             and failure to recognize the




          dealing
          distinction                 can        lead     to    error For           example sometimes                             the        analysis        of    CPPs
          erroneously                  assumes that only customer                                  foreclosure                  issues       are     raised       by the
          conduct                However                 in   fact     both types of foreclosure                           are relevant               for    a rule of

          reason         analysis                of conditional             pricing practices                     as well         as for        exclusive

                     and tying The two types of foreclosure                                                 can      occur             separately           But they
          also can               and do occur simultaneously                                 and reinforce one another


                The concurring                         opinion        in    Jefferson            Parish raises both                         types of concerns

          ? Exclusive                 dealing           can    have adverse economic                             consequences                 by allowing            one
          supplier               of    goods or services                     unreasonably                   to    deprive              other       suppliers of           a
          market            for       their        goods         or    by allowing one buyer                             of      goods unreasonably                      to

                                                                                                                           46
          deprive           other buyers                  of    a needed            source         of    supply.?


                Conduct               to    ? deprive          other       suppliers         of   a market            for their             goods? implicates

          customer               foreclosure whereas conduct                                     to   ?deprive           other          buyers        of    a     needed
                                                                                                                           47
          source            of    supply?              corresponds            to     input foreclosure                           The input foreclosure
          theory            explains               how        exclusives           or    other        conduct            can          literally       raise       rivals?


          costs of a critical                       input by restricting                   in     some way one or more rivals? access
          to    one or more input suppliers The customer foreclosure                                                                   theory explains              how
          exclusives                  or    other exclusionary                 conduct            can reduce               rivals?           access    to       some or
          all    of the          entire           customer           base thereby reducing                         their         output       and     their       ability

          to    expand




                44   Id at 409

                45   For the basic               distinction    between       input and          customer        foreclosure           in the     context    of   vertical

          mergers           see       Michael          H Riordan             Steven        C Salop Evaluating                     Vertical        Mergers         A Post



          Concentrations
          Chicago           Approach              63    ANTITRUST          L J 513         1995       See   also     Eur         Comm?n Guidelines on the
          Assessment             of   Non horizontal            Mergers Under              the   Council Regulation                   on the Control        of

                        Between             Undertakings             2008   OJ C 265 6 This                      article   provides a deeper               analysis and

          applies      the       distinction           more broadly         than    just   to    vertical    mergers

                46
                     Jefferson         Parish Hosp             Dist    No 2 v Hyde 466                   U S 2 45               1985
                47
                     These       two       types    of    foreclosure can          occur     separately           They     can        also   occur    in    tandem       for

          example when                     the    foreclosure     involves         distributors         Distributors            can    be    characterized        both   as

          customers          and as suppliers of                 distribution       services       as an input
distribution




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                              Distributors            can be viewed                       as    providing        a distribution         services        input    rather




                         Customer
                         than       as being          customers Foreclosing                             competitors          from       a   distribution         input

                         can       force those competitors                           to    use higher cost            or less efficient            distributors or

                         direct      distribution            which can lead the firm in turn to reduce                                      its    output 48

                                         foreclosure         can        reduce             the    rivals?       capacity    to    serve     a wide customer
                         base        which         can     lead         to    output            reductions          Customer         foreclosure           also       can

                         cause       the foreclosed               competitors                   to suffer       higher     costs    with     attendant          effects

                         on    output         As a result of these higher costs and reduced outputs both input

                         and customer foreclosure                            may cause one or more rivals to fail                                 to   expand     exit




                         rivals
                         or shrink            They        also         may lead to                reduced         incentives       to    invest         Foreclosure

                         conduct            also       can        harm competition                          by     facilitating         a   ?dampening?                of

                         competition 49




                         market
                              While consumers can                            still        choose     to    purchase        from the disadvantaged
                                    their     choice         is    impeded                 because         of the disadvantages               suffered          by the

                         rivals      from        the      foreclosure
                                                                                     50
                                                                                          As a result the              excluding         firm          may achieve
                         enhance            or   maintain market                      power        in   the input or output              market 51 The
                                   power may be unilateral or may involve                                          coordination         among downstream




                         competitive
                         firms
                                    52
                                          In the     RRC foreclosure                           paradigm the ultimate antitrust concern                           is   not

                         the harm to the rivals but rather the possible                                            harm to consumers and




                         unexcluded
                                   process        from the             resulting               market      power These             anticompetitive              effects


                         are not          inevitable         because             there          may be          continued        competition            from
                                         rivals      or   substitute            products The                    paradigm     also recognizes              that   there

                         may be consumer benefits                               that           accompany the foreclosure




                              48
                                   For the recognition            of   distributors            providing    a   distributional   services   input for which           they

                         charge      a   ? cost of
foreclosure




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                                                        A INPUT FORECLOSURE
                          Exclusive   dealing    conditional     pricing    practices      and other exclusionary
                        conduct can   raise entrants?   or existing   rivals?   costs by   ? input
Merits




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                   attempting
                   that




                   will
                            the       foreclosed

                                        entry 58

                           be a weaker and less efficient
                                                           rivals

                                                       But even
                                                                         will

                                                                           if    a
                                                                                      exit

                                                                                      rival
                                                                                                 from
                                                                                                   can

                                                                                             competitor
                                                                                                                  the

                                                                                                                  cover
                                                                                                                                market



                                                                                                                                if
                                                                                                                                      its

                                                                                                                                       its
                                                                                                                                                  or   be deterred
                                                                                                                                             costs and remain

                                                                                                                                              distribution or
                                                                                                                                                                                        from
                                                                                                                                                                                    viable

                                                                                                                                                                               other input
                                                                                                                                                                                                     it




                   costs are higher                 A competitor                     will    have            the       incentive                  to raise         its    prices             and or
                   restrict        its        output     when           its     marginal                    costs               are         increased            even          if       it    earns

                   enough revenue                   to   cover      its         costs or even                         to    reach            minimum efficient scale 59

                   Thus input foreclosure                         is substantial                       if    it       substantially                    increases              rivals?          costs

                   or constrains                their      output         or         ability           to    expand                     Similar            results            occur           if   the




                   foreclosure
                   foreclosure                reduces      rivals?         product               quality




                   efficient
                      Some
                            will
                                        commentators

                                        prevent        entrants
                                                                  inappropriately focus solely

                                                                        or      small competitors                                from reaching
                                                                                                                                                  on whether
                                                                                                                                                                   ? minimum
                                                                                                                                                                              the




                   foreclosure
                             scale?             MES the output                          level               where               a firm?s average                         costs               bottom

                   out 60 Others inappropriately limit their concerns                                                                  solely to whether                      the

                            will         prevent         rivals    from reaching                             ?minimum                         viable         scale?            MVS the
                   output        level        where a firm can turn a profit                                          at    current            prices        and thus survive 61


                   underdeterrence
                   competition
                   This      narrowing             of concerns

                                                 The conditions
                                                                                is    artificial


                                                                                     under             which
                                                                                                             and leads

                                                                                                                           foreclosure
                                                                                                                                             to     false    negatives

                                                                                                                                                       can reduce
                                                                                                                                                                                        and



                            are       not limited          to    a failure             to    achieve                   MES or MVS



                   distribution
                      Even         if    a viable        rival    is able to            reach               the       MES output                       level       its    costs          may be
                   significantly               raised      by exclusionary                       conduct                   if    it    has     to    pay more for
                            or     other        inputs       or    if     it     has        to     use            a    more costly input or distribution
                   method 62 In that sense                        its         costs     also            will          not        be truly minimized regardless




                   negatives
                      58


                      59
                           See Krattenmaker

                           This reasoning

                            It   is     not
                                                    also

                                              necessary
                                                             Salop

                                                            explains

                                                            to
                                                                          supra note



                                                                 cause a rival
                                                                               why
                                                                                                 12         at


                                                                                       a ? total foreclosure?

                                                                                            to exit          for
                                                                                                                  246? 47 ? Raising


                                                                                                                       exclusive
                                                                                                                                        standard

                                                                                                                                              dealing
                                                                                                                                                       Barriers

                                                                                                                                                       would
                                                                                                                                                            to
                                                                                                                                                                         to


                                                                                                                                                                    lead to

                                                                                                                                                                 have
                                                                                                                                                                              Entry?

                                                                                                                                                                                    false


                                                                                                                                                                          anticompetitive




                   Exclusive
                   effects       Raising       rivals?   costs    or restricting             their          output          to       a lower        level    can    permit          a    dominant

                   firm or monopolist              profitably      to raise           or maintain supracompetitive                                     prices

                      60   Joshua        D Wright Moving Beyond Na                               _ve    Foreclosure                    Analysis         19    GEO MASON                      L REV
                   1163 1163? 64               2012      hereinafter           Wright Na _ve                 Foreclosure                      see   also     Benjamin Klein

                           Dealing        as Competition          for Distribution                 ? On the
MVS)




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                 distributors
                 of scale



                 rival?s
                                 For example



                              competitive
                                                       even     if




                                                 impact Similarly even
                                                                      direct

                                 exist higher costs from the foreclosure
                                                                                 distribution




                                                                                             if
                                                                                                    will
                                                                                                         is feasible

                                                                                                               reduce

                                                                                                   a rival?s output
                                                                                                                                or substitute

                                                                                                                               efficiency

                                                                                                                                    exceeds
                                                                                                                                                  and the
                                                                                                                                                       MVS
                 and the competitor              remains        viable        bearing higher                  costs from           the     foreclosure

                 will    reduce      its   efficiency    and the competitive                       constraint             it    provides          It   is   in

                 this    sense    that     consumer choice              is   impeded even                if   consumers             retain    a literal

                 choice       among the firms In both cases the excluding                                      firm may gain                the    power
                 to   raise    or   maintain supracompetitive                       prices as       a result

                      An antitrust         rule that   would limit antitrust                  liability         only if foreclosure                    leads

                 to   one or more rivals being unable                          to    reach        the    MES         or        MVS output              level

                 would create         substantial       false        negatives        As discussed later on false negatives
                 would be        further       increased   if        antitrust      protection          applied       only         to    hypothetical

                 equally       efficient       competitors           rather    than     focusing              on whether             the    entry       and

                 competition          by actual real world competitors                             would benefit                   consumers            and
                 competition




                                                       B CUSTOMER FORECLOSURE


                 monopolist
                      Customer        foreclosure       focuses          on the impact                  of losing              efficient    access          to




                 revenue
                 customers           including     distributor           customers Customer                          foreclosure            by a
                               can    injure    competitors           and harm competition                      in   several        distinct           ways
                 First    in   the    most extreme         scenario            the customer              base of          an entrant          or       small

                 rival    may be limited to            such     a     degree     that   it    is   unable        to   earn         sufficient


                         to   cover      its   costs   and remain viable                in        the    market           If    anticipated            sales

                 likely    would fall          below   this ?minimum                viable        scale
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          effective
          foreclosure

          incentive



          the
                     costs of expansion
                                        may limit
                                   to expand




                    MVS or MES output level
                                                              profitably
                                                                        its       output



                                                                                 This impact
                                                                                                64
                                                                                                           to

                                                                                                    by reducing
                                                                                                                 a    low


                                                                                                                     can     occur
                                                                                                                                  level

                                                                                                                                  its




                                                                                                      Third such customer foreclosure
                                                                                                                                               and constrain
                                                                                                                                         capacity

                                                                                                                                           even             if
                                                                                                                                                                 or

                                                                                                                                                                  the    rival
                                                                                                                                                                                 its

                                                                                                                                                                      by raising its
                                                                                                                                                                                        ability




                                                                                                                                                                                       can achieve

                                                                                                                                                                                       may permit
                                                                                                                                                                                                          and




          the       rival         to    remain                in    the           market but may relegate it                                                to     a niche position                       at   a
          low output level where                                            it    will          provide               less of        a constraint on the pricing of the

          excluding                    firm        s again even                                 if    it    reaches               MES          65
                                                                                                                                                     For example a monopolist
          may have the incentive                                                 to     maintain monopoly prices                                                  while         ceding            a     small




          significant
          market            share to the entrant
                                                                                       66
                                                                                                Or the monopolist may reduce                                                 prices but only

          to    a limited extent because                                               the constrained                            competitor                 will       not      pose        a
                     threat             or will              pose           less of a threat                              Consumers                   clearly are               harmed by this

          foreclosure                   that           maintains                      higher prices                         Fourth by reducing                              the competitor?s

          likely           potential                   customer                   base customer                                  foreclosure                may reduce                      the       rival?s




          artificially
          foreclosure
               64
                    If    its    output           is    restricted               to    a low          level           the   rival       will        not    provide       less    of     a    competitive




          contracts
          constraint             even        if    that   low       output              level        exceeds             MVS and MES Professor                            Klein?s           article

                         narrowed the focus                        to   MES He states ? Anticompetitive exclusive                                                        dealing        requires

                          of a sufficient share of                           distribution                   so that a manufacturer?s                        rivals      are forced          to   operate       at

          a    significant             cost       disadvantage                    for       a   significant              period of         time In               particular      if    exclusive

                         foreclose           a     sufficient           share           of      distribution                to    rivals       for    a    significant          time        so    that    what




          disadvantage.?
          remains           to    serve           competitors                    cannot             support          a    manufacturer               of    minimum            efficient          scale     the

          exclusive             will    force          existing         competitors and                          potential        new      entrants         to operate          at a   cost

                         Klein supra note                     60 at 122? 28                          While the            first    sentence           states the        general        point about the

          rival     suffering any                  significant               cost       disadvantage                      the     second       sentence           ? In particular?                discusses

          only one          particular             way in which                       costs         are raised but then                  never returns to the                   more general              case

          In the         case     of   MVS Professors Crane and Miralles simply define ?                                                                                        foreclosure?             as the




          competitor
                                                                                                                                                           substantial


          amount           of foreclosure that would eliminate                                                  the      ? reasonable          survival           opportunity? of                an equally

          efficient        rival        to    reach       MVS Crane                                 Miralles supra note                    61 at 29 The                  test    is   made        generally

          more permissive                         of   course by applying                             it   to an equally            efficient             rival not to the actual

                foreclosed

               65   For a sample                   of technical                  economic                  theory        articles related             to    customer         foreclosure              and the




          Waldman
          potential          for harms from exclusive                                       dealing             see Michael             D Whinston Tying Foreclosure and
          Exclusion    AM ECON REV 837 839 1990 Eric B Rasmusen et al Naked Exclusion 81
                                  80

          AM ECON    REV 1137 1140? 43     n 4 1991 Ilya R Segal  Michael D Whinston Naked
          Exclusion Comment 90 AM ECON REV 296 297 2000 Michael D Whinston       B Douglas
          Bernheim Exclusive Dealing 70 J POL ECON 64 1998 Dennis    Carlton Michael                                                                        W
                     The        Strategic              Use    of   Tying              to    Preserve              and Create             Market            Power        in Evolving              Industries

          33    RAND J ECON                            194 196                   2002
               66
                    If   the      entrant          faces      capacity                constraints                the monopolist might do                           better     by accommodating

          small scale              entry while                maintaining                       a    high price              An     entrant          can     exploit      this        accommodation

          incentive             by limiting             its   capacity                or ability                to expand         in other           ways         For the       standard          economic

          analysis of the                incentives                to    accommodate                            the entry of an            entrant          constrained           to    remain small

          see Drew Fudenberg                                  Jean Tirole                   The       Fat Cat Effect the Puppy Dog Ploy and the Lean and
          Hungry Look 74                          AM ECON REV                               PAPERS        PROC 361 1984 Judith R Gelman         Steven C




          Differentiation
          Salop          Judo      Economics                   Capacity                 Limitation                   and Coupon            Competition                  14 BELL J             ECON         315




          application
           1983           Avner Shaked                         John Sutton Relaxing Price Competition Through                                                               Product

                    49     REV ECON STUD                                3        1982               Louis        A Thomas Incumbent                               Firms? Response                 to    Entry
          Price Advertising                        and       New Product Introduction                                       4 INT?L       J INDUS ORG                   527      1999            For

                         to competitive                 effects         analysis of mergers                               see     Steven       C Salop Measuring Ease                              of   Entry
          331       ANTITRUST                BULL 551 559 n 10                                       1986
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          directly
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          incentives                    to       invest        and innovate                  over        time            This   can       harm consumers
                          67
                                  It    also        can weaken the monopolist?s                                       own       incentives            to   innovate


                Thus              the degree of foreclosure                                  is   not     gauged primarily by the fraction                                      of

          distributors                      or customers                 that     are affected but                        rather       by the impact                     on the

          competitors                       and competition                  in    the downstream                        market        In   order to avoid                   false

          negatives                    the proper              standard           also       cannot           be restricted          solely to whether                       there
                                                          68
          is total              foreclosure                    Nor would                   the    proper         standard        be limited only to when
          the competitor                          suffering the              effects             of    the     foreclosure           is    unable          to     survive       in


          the        market

                The condemned conduct                                     in    Lorain Journal                    Co v United States69 provides a
          classic               example              of customer                  foreclosure                 The Journal enjoyed                          a      ? complete


          daily newspaper                            monopoly of local advertising?                                        in   Lorain Ohio distributing
                                                                                                                    70
          its    paper            to        99 percent           of     families            in the       area             The Journal adopted a policy
          of refusing                   to       accept        local     advertising                  from any Lorain County                           advertiser             who
          also        advertised                    with       WEOL               a     local         radio      station        that      recently           entered           the




          dealing
          market 71 The policy deterred many                                                     local    merchants             from advertising                    with the

          radio station creating                                a dangerous                 probability of                the radio station going out of

          business                had the Journal?s                         conduct               not    been enjoined by the lower                                     court 72

          The Supreme Court affirmed the lower court?s holding that the exclusive

                     constituted                    an attempted                monopolization                      in violation            of    Section           2 of the
          Sherman Act by depriving the radio station                                                             of      a market         for   its    advertising             air




          almost
          time 73




          allegedly
          the
                Meritor74

                     barriers




                          all
                                 provided
                                            also

                                            to
                                                     involved

                                                  competition

                                                     discounts

                                  of their transmissions
                                                                          customer

                                                                           by Meritor
                                                                           to     the

                                                                                      from Eaton
                                                                                                  foreclosure

                                                                                                        its


                                                                                            four truck manufacturers

                                                                                                                 under
                                                                                                                           by Eaton

                                                                                                               only competitor Eaton?s



                                                                                                                             long term contracts
                                                                                                                                                allegedly




                                                                                                                                                that    purchased
                                                                                                                                                                   CPPs
                                                                                                                                                                        to   raise




                                                                                                                                                                             about

          90         percent                for     three      of   the companies                        and 70 percent                   for    the       other         which




          investment
          tend
                67
                     See Robert Dorfman



                      If

                     to    lead        to    less   investment
                                                                 Peter      O Steiner Optimal Advertising and Optimal Quality 44 AM
          ECON REV 826 1954 The ? advertising? variable in their model can be reinterpreted as
                                the    maximum            customer        base        is   lowered from foreclosure                    profit    maximization                would


                68
                     ZF Meritor               LLC v Eaton Corp                    696      F 3d 254 283 3d Cir 2012 ?? T                              otal   foreclosure?        is


          not required for an                        exclusive dealing                arrangement             to be       unlawful              ?      citation         omitted
          United States                     v Dentsply         Int?l    Inc 399 F 3d 181                      191        3d Cir 2005            ? The      test    is   not   total

          foreclosure                 but whether          the challenged               practices        bar a   substantial       number of           rivals      or    severely

          restrict        the     market?s           ambit.?           citation    omitted             United States         v Microsoft          Corp 253 F3d 34
          69? 71        D C Cir 2001
                69   342 U S 143  1951
                70
                     Id at 149? 50
                71
                     Id at 148
                72
                     Id at 150
                73
                     Id at 154
                74
                     ZF Meritor 696 F 3d at 264 266? 67
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          produced            some of its own transmissions                                              In   addition            to   the        CPPs Eaton                         also

          required           the       manufacturers                       to    ? preferential price                     Eaton transmissions                                   against

          competitors?                 equivalent                 transmissions.? 75


               Input        and customer foreclosure                                    also can occur simultaneously                                             for example

          if   a rival?s          costs          are      raised through                    input foreclosure                    and     its       customer                     base     is




          services
          reduced           through              customer                 foreclosure 76 This                   is   commonly the case when the

          exclusives              or    other         exclusionary                    conduct involve                     distributors                 Distributors                     are

          properly characterized                                as    supplying the manufacturer                                   with a              distribution

                      input         as       well         as    being customers                     of    the      manufacturer                        When                input and

          customer               foreclosure                   occur           simultaneously                   their          impacts             can            be        mutually

          reinforcing              The higher costs from input foreclosure can prevent the rival from
          serving           certain          customers                    at   low cost which then can cause                                            it       to exit           or   be
          neutralized               or       reduce            its   incentives              to    invest       If    marginal                variable                      costs are

          higher          when output                     is   lower customer                      foreclosure                 can lead            to        a     rival        having

          such higher costs as a                               result          of having           a lower           scale of production
                                                                                                                                                                           77
                                                                                                                                                                                Or if a



          uneconomical
          rival?s sales             are restricted                    by customer                  foreclosure              the    rival          may be unable                          to

          negotiate           low input prices with                                   certain      suppliers              Or the rival may find it

                                   to        adopt         a more              efficient        technology                that    requires              a high scale of
                                                                                                                                    78
          production              to     cover         its     investment               and other fixed costs                                If    a rival              has higher

          costs or          is    limited           to     a low           effective         capacity              a monopolist                   or dominant                        firm

          will       have        the     ability           and incentive                   to     charge higher prices                            to    consumers




          manufacturer
               Dentsply79               is    a case            that       focused           on customer foreclosure                                   but         where input
          foreclosure              also appears                      to    be involved              The defendant                      Dentsply                        a




          Although
                      of    artificial             teeth             with a           75? 80       percent           share of the relevant                                      market
          adopted           a policy                known             as       ? Dealer           Criterion          6? of         refusing                  to        sell     to   any
          dealer       that       added a competing                               artificial        tooth       line       to its      product                   offering




          transactions
                           competing               manufacturers                       could and did sell directly to customers the
          court found              that distributing                           artificial       teeth     through           dealers           had lower
                      costs80          and other advantages over                                      direct         distribution                  and acted                    as the




               75
                    Id at 266
               76
                    One     example of this                is a      situation        where a new          entrant        needs    to obtain one or more ? lead

          customers?          to   sponsor           its     entry        into the      market      or    attest     to   the    reliability           of        its    product         and

          thereby      reduce          its   costs        including            marketing      costs   in      selling     to   others        A related type                     of claim

          was made          by    AMD            in its    complaint against                Intel   Advanced              Micro    Devices Inc                      v      Intel   Corp
          No 05 441                 129          D Del           filed         June   27     2005        download intel com pressroom legal amd                                          1
          1 Complaint 20Main 20Doc AMD pdf Professor Salop served as an economic                                                                                       consultant        to

          Intel     in the European                Commission                  proceeding

               77
                    This particular point also                       would       be   relevant     to a   situation        where       the    competitor is unable to

          expand       to   an output            level     closer         to   MES
               78   McWane         Inc       v FTC 783 F 3d 814 840                                11th Cir 2015

               79   United       States      v    Dentsply Int?l               Inc     399   F 3d 181 3d Cir 2005
               80
                    Id at 192? 93
distribution




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                         concluded
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                         ?gateway      ? to dental laboratory                         customers
                                                                                                      81
                                                                                                            The     Third Circuit          thus

                                    that     Dealer       Criterion        6    was ? a     solid pillar          of   harm     to    competition?

                         because     ?i     t   help ed keep              sales of      competing           teeth    below     the    critical        level

                                                                                                                                                       82
                         necessary     for       any    rival    to   pose      a real threat         to    Dentsply?s market              share.?


                           The case law however does not condemn every instance of                                               exclusivity that


                         somehow       interferes         with        a   rival?s      ability   to    get    its   product      to    market          For

                         example      the       Ninth Circuit             in   Omega Environmental Inc v Gilbarco Inc 83
                         held   that the        record    evidence         was insufficient            to    support     a jury?s finding              that

                         Gilbarco?s        exclusive       dealing         violated       Section          3 of the Clayton Act                  In    that


                         case Gilbarco instituted                a policy        of dealing      only with          distributors       who sold its
                                of retail       gasoline dispensers exclusively                       Unlike the                           Microsoft




                         undisputed
                         line                                                                                          situation      in

                         and Dentsply             the    court    found         that   selling    through           distributors      was not the
                         only    efficient       route    to   market Rather the court found                           that   there    was    ?


                                  evidence         that   direct sales           to    end users           was an alternative           channel of
price




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                                      C IMPACT ON MARKET                 OR MONOPOLY              POWER

                    The     fact    that   one or more competitors           are    injured by input or customer

                  foreclosure      does not necessarily       mean that market         or   monopoly power            will      be




                  nonexcluded
                  achieved    or    consumers    will   be harmed Consumer harm may be prevented by
                  the existence      of    and continued     competition         from a sufficient number of

                               competitors as found           in    Gilbarco88 These other competitors                    might

                  prevent   the    excluding    firm or firms from achieving enhancing                    or maintaining

                  market     or    monopoly power This outcome can occur                     if   sufficient    other     rivals

                  are not foreclosed        from the    critical    input the remaining           rivals are   not   at   a cost

                  disadvantage        and the remaining            competitors     do not coordinate           prices
                                                                                                                          89
                                                                                                                               As
                  summarized        by     Krattenmaker       and Salop consumer              harm requires           ?power

                  over
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          their      costs          of     producing                  at    low output levels 92                                        Here too the limitation may
          reduce          or eliminate the monopolist?s                                                  incentive                  to    cut       prices in        response to the




          monopolist
          entry


               For example                      if    competitors?                     outputs                    are   capped              or constrained                    the

                     can           maintain its             supracompetitive                                      pricing while ceding                          a    limited market




          monopolist?s
                                                                      competitors Entry by




          profitably
          share to the constrained                                                                                                  a single small                competitor                with

          only       a very limited ability                                 to    grow              is        much less threatening                                 to    the

                         market          share precisely because                                         the        entrant              would lack the                  ability

                     to        expand            its     capacity                to    meet the demand                                        at     lower prices 93                   In     this


          situation                an accommodation                             strategy                 can be a more profitable strategy                                              for the




          weakening
          monopolist                 than            significantly                reducing                        its    own            prices        to     prevent           the    entrant

          from growing 94                            But while                   this strategy                           of        accommodation                      may be more
          profitable for                   the monopolist                         it       harms consumers by eliminating or

                    price          competition                Effective                    consumer choice                                     is    impeded by                the      higher

          prices


               As discussed above                                it    is    insufficient                          to limit             the     economic             analysis           solely

          to   whether               the       foreclosure                 is    total          or whether                         it   will       drive      rivals          below      MVS
          and cause them                        to    exit       or to          focus only on the                                   effect         of the foreclosure                   on the
          ability         of the foreclosed                           rivals to            reach                  MES         95
                                                                                                                                        A firm can achieve                        enhance

          or maintain                 monopoly               power by raising the                                          costs            or restricting the output                           of

          rivals that               remain            viable           whether              or           not the           rivals           are able to reach the                        MES
          level          of   output Anticompetitive                                   effects                    also can occur                     if    viable     rivals          become




          monopoly
          less efficient                  at     other output                    levels Competition                                         also      is    weakened             if     rivals?


          costs are raised or if                         their sales are                        constrained                        sufficiently that                 the monopolist




          competitive
          lacks          the       need        to    reduce           its       prices              to   compete but instead can maintain
                              prices       while         ceding             a small market share to the competitor The
                              harm also may not be permanent but merely delay                                                                                   effective             entry96


               Some courts and commentators                                                 have                  suggested that foreclosure                                  should        only

          be considered                    a    cognizable                  concern                 if       it    would exclude competitor                                    that      is   ?as




               92
                    In    economic             terms      this        occurs       when             the       conduct              raises      the    entrant?s      marginal           costs   of

          expansion             beyond         a limited output                 level

               93
                    In    the      standard          economic          model           of       a   dominant              firm facing                a    less efficient        competitive

          fringe the            dominant             firm   or monopolist                       balances                the marginal contribution                        to   profits    from    a

          higher market share                    versus the contribution                            from a higher price cost margin                                  JEAN TIROLE              THE
          THEORY          OF INDUSTRIAL                  ORGANIZATION                      218? 20                 1988
               94   See infra note              67
               95
                    See supra notes                  58? 66 and accompanying                                  text

               96
                    As explained                by Professor            Hovenkamp                        ?   A set of strategically planned                           exclusive         dealing

          contracts           may slow the               rival?s       expansion                by requiring                  it        to develop         alternative        outlets for its

          products            or   rely    at    least    temporarily                 on    inferior               or    more expensive                    outlets    Consumer              injury

          results from             the delay         that the         dominant firm imposes                               on the smaller rival?s                    growth.?          HERBERT
          HOVENKAMP                  ANTITRUST            LAW               1802c          at       64       2d     ed    2002
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          efficient?              as     the     monopolist
                                                                                97
                                                                                      When           products        are       differentiated             so       that    some
          consumers                 prefer           the          monopolist?s                   product         and other consumers prefer the
          entrant?s              product             the concept                      of     ? equally         efficient          competitor?                 is      not well

          defined                But even where products                                      are     fungible        limiting the             legal       standard           for




          monopoly
          exclusionary                   conduct              solely to protecting                       such        ? equally efficient                  competitors?



          underdeterrence
          is    overly permissive
                                   98
                                         Actual
                                                             and would lead to

                                                             or     potential              entry by
                                                                                                       significant


                                                                                                          less efficient
                                                                                                                               false     negatives

                                                                                                                                      entrants
                                                                                                                                                              and

                                                                                                                                                         into a




          reducing
                     market             would        cause            prices           to     fall    as long         as    the       entrants?          costs         are less

          than         the    monopoly price Thus                                      that      entry could generate                     consumer benefits 99
          By reducing                    price          it    also        would contribute                     to    economic efficiency by
                     the deadweight                      loss in               consumer surplus from the monopolist?s preentry

          pricing            Even in the context                                of this       permissive             standard it              must be recognized
          that        the    foreclosing                     conduct            may actually              prevent              the entrant          from achieving




          monopoly
          the scale necessary                            to        become an                 ? equally        efficient          competitor.?              100




                It    sometimes                is   argued                that       vertical        restraints       implemented                   by    a monopolist
          cannot            lead        to   anticompetitive                          effects        because         there       is   only a        ? single




          arrangements
                     profit?       and the restraints do not permit any additional monopoly profits to
                                                                    101
          be created or exercised                                              This theory             may be applicable                      to    certain           tying

                                        and       vertical                mergers but only under                                specific       and very                limited

          conditions including                                prohibitive                  entry barriers that protect the                          so called single
          monopoly 102                       The theory                   clearly          does not apply              to      exclusionary               conduct           by   a




                97   RICHARD            A POSNER ANTITRUST                            LAW AN ECONOMIC PERSPECTIVE                              194? 95        2d ed 2001
          For the application                    to exclusive              dealing          see Crane      and Miralles supra note                       61      at   24 29 In
          Eisai the court               referred to the              equally efficient competitor                     standard but did not               require       evidence

          that       the plaintiff       was      equally efficient                  Eisai Inc        v Sanofi       Aventis      U S LLC 821 F3d 394 406
           3d    Cir 2016
                98
                     Using the           example             of    a fraudulent patent                claim Professor Hovenkamp                          characterizes        the

          standard          as    ? unreasonably                  lenient       and even         perverse       It   exonerates          the defendant             in precisely

          those       circumstances              when         the    conduct          is    most likely    to    be unreasonably              exclusionary.?              Herbert

          Hovenkamp                Exclusion            and the Sherman                     Act 72      U CHI L REV 147 154 2005
                99   See Herbert             Hovenkamp                The Harvard                and    Chicago       Schools         and     the   Dominant            Firm in
          HOW         THE                       MARK THE EFFECT OF CONSERVATIVE
                             CHICAGO SCHOOL OVERSHOT                               ECONOMICTHE
          ANALYSIS ON U S ANTITRUST  109 117 Robert Pitofsky ed 2008 John Vickers Abuse of
          Market Power 115 ECON J F244  2005 Steven C Salop Exclusionary Conduct supra note 1
          at   328? 29
               100   Richard        Posner          recognized             that      this    issue    could    warrant an expansion                  of the standard             to

          include        competitors             that    would            be    equally      efficient    but for the          conduct        See Richard             A Posner
          Vertical Restraints and                       Antitrust          Policy 72             U CHI L REV 229 240                       2005          see also Brief for

          the    United States as                 Amicus            Curiae at          13 n10         3M Co v LePage?s Inc                         342   U S 953            2004
           No 02 1865 ?Firms with equal costs at any common level of output may have different costs
          because           they    produce          different            levels      of output         perhaps       as   a    result   of   allegedly          exclusionary

          conduct           which        calls      into      question          their      comparative        efficiency.?            However         even expanded              in




          monopoly
          this       way the standard                remains improperly                       too permissive

               101
                     For the       classic       Ward S Bowman Jr Tying Arrangements and the Leverage
                                                 statement see

          Problem            67    YALE   1957 L J 19
                    For example a monopolist may use exclusionary conduct to maintain its existing
               102


                   achieve market power in an adjacent market for consumers that do not purchase the monop
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          monopoly
          394                                                             ANTITRUST                     LAW          JOURNAL                                               Vol 81




          conduct
          monopolist                facing              a threat               of    entry         In this           situation the excluding                        firm?s

                            position               is   being             threatened                and          the      exclusivity of a                  critical       input is

          being used                in       order            to     maintain               the     monopoly                     Absent          the exclusionary

                       the        monopoly profit would be                                                dissipated              at     least       somewhat             In       other

          words             the    exclusionary                          conduct            is     intended             to   maintain the firm?s monopoly

          not        increase           it    or extend                   it    to    a   second                market


               It     sometimes                is       argued             that       the     rivals            can protect themselves                          by outbidding
          the monopolist                       for       exclusive                   or non exclusive                            distribution          or access           to      other

          inputs This                   ?competition                           for    exclusives?                    or      ? competitive              for     the contract?

          argument                can be            valid                when the firms are equally                                      matched and each                     is     well

          positioned               to    obtain               a      significant              share of               the      exclusives              For       example each
          law firm has exclusivity                                        rights          with each                  of           partners but there                    are     many

          anticompetitive
                                                                                                                           its


          viable            competing                   law firms Bidding for non exclusivity also can prevent

                                         exclusion                       where        the     rival           requires only a very small fraction of a

          large        number of                   potential                   distributors               or there are no                   barriers to           entry facing

          distributors                  In    those            cases            it    may not be profitable for even a monopolist to
          attempt            to    foreclose                  rivals?           access             to    distribution




          anticompetitive
               However                  competition                                  exclusives                      not     a general panacea




          terminable
                                                                          for                                   is                                                for


                             concerns               about                 foreclosure               conduct               for     several            reasons       even         if    the

          entrant           is    equally           efficient                  and even if the exclusives                                  are short            term or

                       at    will First                  it    is        common             that distributors                     or customers              would value an

          entrant?s              product            solely               as a        supplementary                      supply rather than to replace the




          monopoly
                                                                   103
          monopolist?s                   product                          In this         situation              a   monopolist has                   significant          bidding

          advantages                because                   it     is       protecting                its     monopoly power                        rather      than        simply

          attempting               to    earn a competitive                                 return and                  can use those                 anticipated

                     profits as a ? market                               power fund? to finance higher bids 104 Even                                                 if   the        rival


          is    more          efficient             or        is     offering             a   superior               product those                   advantages            may be




          ANTITRUST
          oly product or evade                      price          regulation         Exclusionary conduct                        also   can     be used    to   achieve      or better

                         monopoly power




          Economic
          exercise                                             For discussion                 of   the        various     limitations      of the      single    monopoly profit
          theory        see      Andrew         I Gavil Dominant Firm Distribution Striking a Better Balance                                                               72

               L J 3 2004 Louis Kaplow Extension of Monopoly Power Through Leverage 85




          MacAfee
          COLUM L REV 515 1985 Michael H Riordan        Steven C Salop supra note 45 Carlton

          Waldman supra note 65 Steven C Salop      R Craig Romaine Preserving Monopoly
               Analysis Legal Standards and Microsoft 7 GEO MASON L REV 617 1999 For the

          context       of    a bargaining               model see                  Oliver       Hart            Jean Tirole           Vertical Integration             and Market

                                                                                                                                                                  R Preston
          Nondiscrimination
          Foreclosure              BROOKINGS                  PAPERS            ON ECONOMIC ACTIVITY                             205 208? 09           1990
                             Marius Schwartz                         Opportunism              in    Multilateral             Vertical      Contracting

                     Exclusivity         and        Uniformity 84                    AM ECON                   REV 210 1994
               103
                     This likely        was        the        case       in    Lorain Journal where                       radio advertising could supplement but

          not replace             the   newspaper                  advertising            See Lorain            J Co v United States 342 U S 143                                149? 50

           1951
               104   For example              in    JTC Petroleum                     there        was        sufficient      evidence         for   a jury to reasonably             find


          that       Piasa and the other                 cartel           members         paid the asphalt                 suppliers       more than the          market price in

          exchange           for the         suppliers?              foreclosing JTC?s                   access to           the input      JTC Petroleum Co v                       Piasa

          Motor        Fuels       Inc        190 F 3d 775 778? 79                               7th     Cir 1999
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          unable           to   overcome                    the monopolist?s                  market            power fund and                 the    higher cost

          entailed           by    the          bidding            Second an incumbent                            monopolist             also      can negotiate

          exclusives              before              the entrant             has time to            respond                Third if the entrant needs

          wide distribution                           each     distributor              might accept                 the monopolist?s                 offer rather




          expectation
          than        take       the       risk        that       the    entrant         will       fail    to       obtain        sufficient        distribution

          Because            the distributors typically cannot coordinate                                                   their     responses         an

                       by a number of distributors that entry will                                                   fail    because         other    distributors

          will        not support                it   can     become a self fulfilling                            prophecy 105 This coordination




          involved
          problem               also       is    not eliminated                   if    exclusives              have short duration Finally                              if


          there are multiple entrants                                    bidding competition may be                                impeded by free rider




          competition
          issues among these                            competitors Consumers                               also       typically        do not become

                           in   bidding competition                               despite       their benefits                from increased
                       As       discussed               in     more detail                below             these           various      impediments                also

          explain            why            price cost              tests         can         lead         to    a     significant            false     negatives

          problem 106



                                                      D COGNIZABLE                       COMPETITIVE                   BENEFITS




          recognized
          forecloses
               Exclusive

          motivations

                       the
                                       dealing

                                   and cognizable
                                potential

                        rivals 107
                                                       for

                                                 In cases
                                                            and    other exclusionary



                                                               cognizable
                                                                             beneficial




                                                                    where there are both
                                                                                                effects

                                                                                        efficiency
                                                                                                            conduct



                                                                                                                benefits

                                                                                                                 significant
                                                                                                                             can have
                                                                                                                     The courts          have

                                                                                                                               from conduct
                                                                                                                                               procompetitive

                                                                                                                                                      long

                                                                                                                                                        that

                                                                                                                                       and probable harms

          and cognizable                        benefits the                 two effects must be compared                               in   order to estimate

          the overall net                       effects       on    consumer welfare                        and the competitive                    process         This

          comparison               would involve                     both the probability                        and magnitude                of     the opposing




          nonmonopoly
          effects 108


               The         efficiencies               can involve              a variety         of    mechanisms                     For example in
                                 markets buyers sometimes can use exclusives                                                          to induce       more price
                                                                                        109
          competition              among                their       suppliers                  Exclusives               potentially           can     reduce        risk




          CHICAGO
          by         assuring          a    buyer            with        a   guaranteed              source          of inputs or             a    seller     with       a



               105
                     See Krattenmaker                       Salop    supra note          12    at   268? 77          Steven    C Salop Economic               Analysis

          of   Exclusionary            Vertical             Conduct          Where      Chicago       Has        Overshot      the     Mark     in   HOW     THE

                      SCHOOL OVERSHOT                       THE    MARK supra note 99 174? 78 see also sources cited                                     supra note




          concurring
          65
               106
                     See infra Part             IV
                                   Parish Hosp          Dist No 2 v Hyde 466 U S 2 45 1984       O?Connor J
               107
                     Jefferson




          quality
                      Standard     Oil          Co of Cal v United States 337 U S 293 306? 07 1949 see also Jacobson
          supra note            51 at 357? 60
               108
                     The    underlying            economic          methodology in              principle        would       involve    estimating      the    upward
          pricing       pressure       from           the    foreclosure          and   resulting      power         over     price    and comparing          it   to   the

          downward           pricing pressure                from    the competitive            benefits         Where       the   conduct     increases     the




          Distribution
                of the products                 or service         the   latter    estimate      would          involve      the ? quality adjusted?          price

               109
                     Richard      M    Steuer           Customer Instigated               Exclusive         Dealing          68 ANTITRUST          L J 239         2000
          Benjamin Klein                        Kevin       M Murphy              Exclusive         Dealing       Intensifies         Competition      for


                     75 ANTITRUST                LJ 433            2008
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          improved
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          guaranteed                      outlet           for   its   products             Exclusives              can provide incentives                           for

                            products                    better         service        and increased                    promotion 110                 When            there        is

          competition                       among a number                        of      relatively              equal      competitors                 each        with        its


          own         exclusives                      and no coordination then exclusives                                            also   are     on balance less
          likely          to     cause               harm        to    competition                as opposed               to    exclusives              adopted           by     a
          monopolist                       facing           a new entrant




          advertising
                Exclusivity                      by monopolists                  could also be procompetitive                                by preventing                  free




          monopolist?s
          riding For                      example a new entrant manufacturer                                           might          free ride          on the

                       by the monopolist                                 if    the    retailer         carries         both brands            and        the

                          advertising                       drives          consumers             to       the       retailer          as    was          the        case        in




          applications
          Beltone
                               111
                                          A dishonest retailer might even attempt to employ bait and switch
          tactics           if       selling           the entrant?s             brand       is       more profitable                  If   a software

                      developer                       intends          to     port its      application                to multiple platforms                          it   may
          sacrifice              quality               by programming for the lowest common                                                 denominator rather
          than using                      all    the       capabilities          of    the    monopoly platform


                When             exclusivity                 is instituted            by    a monopolist                against all of its competitors

          there       is a greater                     likelihood             that the      harms dominate                      the    benefits          because           there

          is    no     other               competition                 to     protect       consumers The claimed                                  efficiencies             also

          may not be cognizable For example bold claims of increased ? dealer loyalty?
          may amount                            to    nothing          more than            creation             of barriers to entry that maintain

          monopoly prices rather than leading                                                    to    product or service                   improvements                    that

          increase               total           market          output         and    benefit          consumers Thus                        it    is    important to

          analyze the                      efficiency             claims on           a    case by case basis taking market                                      structure

          into       account                    rather       than assuming                  their      existence


                Moreover                        in    performing such an                    analysis             on a case by case basis it                           is    also

          important                   that           the    price       and output               effects          are properly              characterized                   If    a
          dealer           loyalty               commitment is designed                               to raise         the output            of    the monopolist

          that       effect               only         benefits         consumers            if       total       market         output       is     increased              For




          separate
          example                    if    the conduct                  increases the monopolist?s                               output       by 100            units        but

          reduces               the        output           of   competitors               by 150 units then                     total      market         output           will

          fall       by    50 units which                             will    cause       price       to    be higher            ceteris        paribus              A
                     caution                arises           with       respect        to    price comparisons                         to    the     relevant              price

          benchmark                         In        monopoly maintenance                              the        typical       concern            about        harm to




          Nonlinear
               110


          Marvel
                     For    a    sampling

                           Exclusive

                      Supply Contracts
          MGMT STRATEGY
          Free Riding How
                                                       of

                                                     Dealing


                                                     755
                                                            economics

                                                                  25 J
                                                             Exclusive
                                                             1997
                                                     Exclusive
                                                                         L
                                                                               articles that

                                                                                  ECON
                                                                               Dealing
                                                                         Benjamin Klein

                                                                      Dealing     Prevents
                                                                                             1
                                                                                                  raise

                                                                                                  1982
                                                                                            and Equilibrium
                                                                                                                possible




                                                                                                           Andres
                                                                                                                 Daniel




                                                                                                  Free Riding and Creates
                                                                                                                           efficiency

                                                                                                                           P O?Brien
                                                                                                                           Market Foreclosure
                                                                                                                       V Lerner Expanded
                                                                                                                                             claims see

                                                                                                                                                   Greg Shaffer




                                                                                                                                             Undivided
                                                                                                                                                           6
                                                                                                                                                                 Howard


                                                                                                                                                                J ECON
                                                                                                                                                           Economics

                                                                                                                                                                Loyalty 74
                                                                                                                                                                                  P


                                                                                                                                                                                  of



          ANTITRUST              L J 473               2007 Klein supra note 60
               111
                     Beltone Elecs                    Corp 100 F T C 68 1982                           see also Judge Bork?s                description         of    the issue

          in   Rothery           Storage               Van       Co v Atlas Van Lines                  Inc       792   F2d 210 D C Cir 1986 However
          his    analysis            turned          upon    the lack         of market     power          of    Atlas Id       at    228? 29
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          competition             is    not     that       price     will      rise above          the        pre entry level 112                   Instead the

          harm is that            price will               fail   to fall      to a lower more competitive                                    level   as     a result

          of entry            The proper                  antitrust      benchmark                thus      is   the      price      and market output

          that       would occur but for the allegedly anticompetitive                                                        conduct Finally when
          the foreclosure                   conduct           involves             some harm of competition that                                 is said       to    be
          trumped            by efficiency                 benefits           it   is   important           to    confirm           that      the     exclusivity




          outweigh
          is    reasonably             necessary                  or evaluate             whether           the         benefits        instead         could        be
          achieved            by other              conduct         that       does        not    interfere             as      much        with      interbrand

          competition                There          also      may be harms                   to    inframarginal consumers                              that

                        the      benefits           to     the marginal consumers                             in    which           case       an increase           in

          output         nonetheless                may involve                harm to consumers on balance



                      III     APPLYING THE                           TWO PARADIGMS TO CONDITIONAL
                                                          PRICING PRACTICES                                      CPPS


          exclusivity
               The choice of
                        and    other

          come with a ? condition.?
                                              antitrust

                                             conditional
                                                                  paradigm

                                                                      pricing practices

                                                                   They combine
                                                                                        arises with




                                                                                                 partial or
                                                                                                            respect

                                                                                                            CPPs involve
                                                                                                                              to




                                                                                                                        complete
                                                                                                                                   payments

                                                                                                                                        price

                                                                                                                                         exclusivity
                                                                                                                                                       for

                                                                                                                                                      offers that

                                                                                                                                                                   with

          lower        relative        prices        or payments                   to customers             In the case of CPPs with input




          counterparties
          suppliers they involve                            higher prices or                 payments              if    the     input suppliers               agree

          to the       condition             These prices or payments                             are       conditioned              on the
                      making         certain              commitments                   involving           the         volume         or      percentage            of

          purchases or sales Loyalty                                discounts             and rebates               offer       lower nominal prices
                                                                                                                                                                     113
          to     customers             conditional                on the share               of    the        customer?s              total      purchases




          conditional
                                                                                                                          114                                115
          Loyalty discounts                    were          at   issue       in    cases such as Intel                         Concord             Boat           and
          Meritor 116             Bundle            discounts            and rebates              offer          lower          nominal prices

                        on the customer?s commitment to purchase                                                    multiple products                   from the




               112   See    eg Krattenmaker                        Salop      supra       note    12   at   246? 47           Steven    C Salop             The    First


          Principles        Approach          to Antitrust          Kodak           and   Antitrust      at   the       Millennium          68 ANTITRUST            LJ
          187 197           2000       In    that   there     are degrees          of monopoly          power           exclusionary conduct            could       lead

          to   the    enhancement            as well as the          maintenance           of monopoly             power




          bidding
               113   A loyalty    price      discount might be              triggered      by exclusivity           or near exclusivity               For    example
          a dominant          firm might        offer       an unrestricted price of                   100 but then a              discount     price   of     95 for

          customers         who   deal with          it   exclusively         or perhaps     for   customers            who     award    it    say    90 of        their

          business

               114 Intel    argued     that   its    conduct       did not involve           conditional discounts                  but simply        separate

                     competitions           Advanced         Micro Corp No 05 441 D Del filed June
                                                                        Devices Inc          v    Intel

          27 2005      Nov 12 2009 settlement download intel com pressroom legal AMD settlement
           agreement pdf Complaint Intel Corp FTC Docket No 9341 Dec 16 2009                 July 28 2010




          proceeding
          settlement   download intel com pressroom legal ftc FTC Final Executed Agreement pdf
          COMPC3 37.900? Intel Corp Comm?n Decision May 13 2009 ec europa eucompetition
          sectors ICT intel html This author submitted an expert report on behalf of Intel in the EC

                        and consulted           with       Intel   on   the    FTC investigation
               115   Concord      Boat      Corp          v Brunswick Corp 207 F 3d 1039                                8th   Cir 2000
               116
                     ZF Meritor LLC            v Eaton Corp 696 F3d 254 3d Cir 2012 cert denied 133 S Ct 2025
           2013
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          seller        Bundle          discounts                and      rebates           were        at    issue    in    the   LePage?s117                and
          Peace         Health118         cases


                These loyalty                payments                 tend      to     be       offered        mainly        by    dominant                 firms

          whereas bundle                 payments sometimes are offered by firms that face                                                   substantial


          competition             However                   the basic           economic analysis                  of both         types of           CPPs is
          the     same Moreover                         the functional                 distinction            between        them can             be        fuzzy
          While                                               may apply                                                                          consumer


          incontestable?
                        loyalty     payments                                          to    a single          physical      product          a

          may not view             the       entrant?s            product            as a   good substitute               for   some uses             ?
                               demand             but       may consider                    them close            substitutes          for   other           uses




          indications
          ? contestable? demand For example two pharmaceuticals                                                                     may have                 FDA
          approval         for    some indications but only one may have approval                                                      for other

                                                                                                                                                      119
                          Thus the same basic economic                                          analysis      would apply           to both                   Nor

          does      the        concept            of    incontestable                 demand            mean      that      the    dominant                 firm?s

          product         is   uniquely applicable                        to the       one       use The concept                also   applies              where
          demand          for    the     dominant                firm?s product                   is    significantly        more      inelastic             This

          situation        can    arise for differentiated                           products           when the one product                     is   superior

          for     some uses but                   less      so   or      not    at   all    for        others


                The use of CPPs voluntarily                               to achieve              exclusivity          or   near exclusivity                  can

          be contrasted            to     the mandatory                        or    ?coerced?               exclusive       dealing     in      cases        like


          Lorain Journal                 and tying in cases                          like   Jefferson          Parish While discussion of
          CPPs often             focuses               on   conditional               prices           offered    to   distributors              firms also

          might         offer    conditional prices                        or    payments               to    input suppliers          who            agree        to

          restrict       supply to its             rivals Loyalty                    payments also could be based on retailers?

          allocation           of shelf           space 120

                The application                   of    the      two paradigms                    to    CPPs has differed among courts
          and commentators Some have argued that the plaintiff                                                             should      be required                 to

          show      that       the defendant?s                   pricing         net       of   discounts          exhibits        short term losses

          in    the sense         that       it   is setting           prices        that       fall    below    an appropriate              measure of
                  121
          cost            Others have                  argued       that       the plaintiff            should    be able to establish liabil



            117
                  LePage?s        Inc    v 3M 324 F 3d 141 3d Cir 2003 reargued en banc
            118
                  Cascade       Health    Sols v PeaceHealth 515 F3d 883 901 9th Cir 2008
            119   In Eisai and      ZF Meritor               the courts maintained the importance                         of this distinction          See Eisai

          Inc     v Sanofi Aventis US LLC 821 F3d 394                                           405     3d    Cir 2016       ZF    Meritor       696        F 3d   at

          274? 75 The           issue   is    whether         the   seller     can    price discriminate           when      a single customer uses a

          product       for different     uses Such              price    discrimination           is often    possible     when   the product includes

          intellectual     property

                                                                                                       F Supp 2d 876 ND Cal 2012



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            120
                  Church          Dwight          Co v Mayer Labs Inc                           868
            121
                  See e    g Concord Boat Corp v Brunswick Corp 207 F 3d 1039
                                                                          8th Cir 2000 NicSand

          Inc     v 3M Co 507 F 3d 442                   banc PeaceHealth 515 F 3d at 901 3A
                                                                 6th     Cir    2007        en

          PHILLIP AREEDA     HERBERT HOVENKAMP ANTITRUST  LAW    749e at 356 4th ed 2015
                 MODERNIZATION   COMMISSION REPORT    RECOMMENDATIONS    83 2007 see also Brief
          for   Eighteen       Scholars       as Amici Curiae in Supp            of Pet?r Eaton Corp v ZF Meritor LLC 133 S

          Ct 2025         2013      No 12 1045                    2013     WL 1309073 Daniel A Crane Mixed Bundling Profit
predatory




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                      ity   under       a more traditional rule of reason analysis                                   that    focuses on foreclosure

                      and     the      likelihood of achieving                      or   maintaining           monopoly power                        or market
                      power        in the      case of CPPs               embedded          in   agreements taking                           into   account        any

                      procompetitive                 benefits           of the exclusionary               conduct           122
                                                                                                                                       In    ZF Meritor            the

                      court?s decision                  focused         on    exclusive         dealing       because             the        plaintiffs      argued

                                        longterm contracts                                                amounted                      de facto exclusive




                      paradigm
                      that    the                                            in   their entirety                                  to

                                                        123
                      dealing          contracts


                            The    analysis        in this article           supports the view                that   the     RRC foreclosure
                                  generally        is   more appropriate                 for   analyzing        CPPs particularly where                            the




                      exclusive
                      CPPs are made                  to       distributors or            other input suppliers                     The        RRC paradigm
                      focuses          on    the     condition           not      the    price level          For example                     under the RRC

                      paradigm payments                        to   distributors for            exclusivity          would be analyzed as
                                       dealing not            as predatory          pricing       CPPs fundamentally                           differ    from the




                      barriers
                      plain vanilla price                 discounts          of   the predatory          pricing paradigm                       because       of   the

                                                                   them




                      market
                      conditions            attached          to             Conditional discounts                   may lead to lower nominal




                      particularly
                      prices        But the attached                conditions           also can      raise    rivals?           costs       and erect
                             to    entry       Once       these         exclusionary           effects    are taken           into           account

                                  in   monopoly or dominant                        firm markets even                  the     nominally discounted




                      conditional
                      prices       may exceed the unconditional                            prices      that    would be charged                     in   the

                             if   the    CPPs were prohibited                       by    antitrust      law Moreover while                            the

                                  payments           may be nominally structured as discounts                                           in   some cases they

                      actually         may be price surcharges levied                            on   disloyal        customers over and                      above
                      the prices before                 the conditions             were added or those that would occur                                       in   the

                      absence           of the conditions




                      discounts
                            These       differential effects

                      paradigms The predatory
                                                                             have implications

                                                                          pricing paradigm
                                                                                                          for

                                                                                                          would
                                                                                                                 the choice

                                                                                                                       treat           all
                                                                                                                                             between
                                                                                                                                              conditional
                                                                                                                                                             the   two




                      unconditional
                                       and payments                as   presumptively            beneficial          price competition                       despite

                      the    fact       that   the      discounts         or   payments          are     conditional              rather        than

                                    That       paradigm             would focus solely on                     whether             or    not the pricing             is

                      ?
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          output
             In contrast                  the     RRC        foreclosure             paradigm            would attack               the        condition              not

          the price level It                    would        focus       on the       fact    that       the discounts                  or    payments have


          anticompetitive
          exclusionary                  conditions

                                         foreclosure
                                                              attached

                                                                 that
                                                                                 and

                                                                        raises effective
                                                                                         that    these           conditions

                                                                                                         costs of rivals
                                                                                                                                             can

                                                                                                                                             limits
                                                                                                                                                       lead

                                                                                                                                                         their
                                                                                                                                                               to




                   and erects              barriers         to   entry and expansion                          As a result               of    the conditions

          the resulting prices                        can     exceed       the       competitive               benchmark                price          that    would

          occur        in     the       ?but for world? without the CPPs


             The        fact       that     the    RRC foreclosure paradigm                                  would attack               the condition                 not

          the     price       level        also has administrative advantages                                     It   eases the burden                        on the

          courts             The court can              prohibit          the        condition            without           having           to     evaluate          the

          price        level       or   regulate        the      price 124           The court           also    does not need                    to   carry out a

          complex             price cost              test This         similarly        eases the burden                     on the firms A firm
          can      comply               simply        by     setting      prices        that    do not depend on                              the      customer?s

          share or            volume            of purchases             from the monopolist


             The         typical          price cost          test      for    CPPs       compares the incremental                                     prices        and
          incremental                cost       on the       additional          purchases           or       sales driven              by the condition
          As discussed                   in detail      below 125          this greater          complexity means                              that the test           is

          more difficult                  to    implement objectively                        and accurately                 than the usual                     Brooke

          Group test For example                                  the    output        levels        used        in the        test          may vary from
          customer             to    customer The                  test    also       leads     to       a    significant           likelihood of                   false

          positive           or false           negative         errors




          associated
          loyalty
             One reason for                       the   significant            false    negative              errors is       the        fact       that    bidding

          competition                often does not take                  place        on the level playing field normally
                        with        standard price                 competition            on    the           merits Instead                   when            a   price

          discount            by     a    dominant            firm or monopolist                     is       conditioned               on     customer

                       bidding          incentives           are skewed               The incumbent                    firm        is   bidding with                  the

          purpose of maintaining                            market       power         rather    than          simply competing                          for   scarce

          distribution              or inputs           The lack of coordination                             among      distributors also                      creates

          bidding            impediments for the entrant or fringe firm As                                                  a result the incumbent




          suppliers
          firm may be able                       to   maintain          its    monopoly power even                             though              the     resulting

          prices        are    far       above the monopolist?s costs                            But false              positive              errors also            can

          occur Below incremental                                cost    pricing        to some              customers             distributors                or

                       does not always                  significantly                disadvantage the entrant                           And competition
          from other firms may prevent                                   the     exercise of market                     power




          constraint
            124   It   would       also   be possible         for a court       to   modify    the condition            for example                by substantially

          reducing          the market share threshold at which the lower price kicks                                  in as a way to ensure                   that   the

          entrant       is   not    prevented         from    expanding         sufficiently     to provide            a    sufficient         competitive

                       on    the    monopolist?s           pricing      This    was    used as       a       remedy    in    the   FTC?s           Intel   case      Intel

          Corp FTC             Docket          No 9341 at IV7                  requiring incremental              discounts             www ftc gov sites de
          fault files documents cases 2010 08 100804inteldo                                   0 pdf
            125
                  See infra Part            IV
price




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                        While the predatory                    pricing         paradigm            requires          a   price cost test            the    RRC
                  foreclosure          paradigm             would         take      a more conventional                     rule     of reason      approach

                  to    evaluating         whether           or not consumers are harmed                                 on balance          The analysis

                  would evaluate the CPPs as input and or customer foreclosure                                                               and evaluate
                  the    likely       impact           on    consumers              and competition This does not mean                                      that

                  courts should             rely       on simpleminded foreclosure                                  rates 126        The   analysis       of the

                  two        variants      of     foreclosure             instead      would evaluate                    whether           the   rival    likely

                  would be significantly foreclosed                                 in the    sense of suffering significantly higher

                  costs or        limitations           on    its   capacity           output       and ability               to   expand        efficiently



                        In   some cases             the      plaintiff?s         costs       might be              sufficiently        raised      and or its




                  lessened
                  output       sufficiently             constrained            that    it    would            be    forced      to   exit    However           in

                  other cases              the    plaintiff        might remain               viable           but    its     ability      or incentive        to

                  constrain          the   market           power         of   the dominant               firm        may be significantly
                             by      higher       costs      or reduced              output        or    ability         to   expand         Its   ability     to

                  compete may be                  sufficiently            marginalized by the                       higher costs or reduction                  in

                  its   customer           base    that      its   incentives         to     invest      will        be significantly            reduced      as

                  discussed           earlier 127           The     rule       of reason also                 would         evaluate        other    ways      in

                                                                                                        128
                  which        the    competitive             process          is   weakened

                        At the same time the                       fact    that      one     or    more        rivals suffer           from foreclosure
                  does not automatically                      imply that there                is   consumer harm The rule of reason
                  analysis        under          the    RRC        paradigm           also     would               evaluate ? power              over
specific




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                     reason
                     competition
                     step

                     rates




                     benefits
                               also




                               also
                                       moves
                                Consumer
                               with other

                                       evaluates
                                                    the




                                      from the conduct
                                                           analysis

                                                   injury might

                                                 non foreclosed
                                                          the       various

                                                                       in
                                                                              beyond
                                                                              be prevented
                                                                              competitors



                                                                            order
                                                                                 types

                                                                                    to
                                                                                           the measuring




                                                                                            of
                                                                                                  if   there

                                                                                                 or other products

                                                                                                  cognizable

                                                                                          determine       the
                                                                                                                  of

                                                                                                                were




                                                                                                                 net
                                                                                                                         simple

                                                                                                                         sufficient




                                                                                                                      consumer
                                                                                                                       effect
                                                                                                                              The


                                                                                                                                      on
                                                                                                                                           foreclosure



                                                                                                                                        rule     of

                                                                                                                                            efficiency

                                                                                                                                            consumer


                     anticompetitive
                     welfare This is

                                  than       a
                                                  a more accurate


                                                 pricecost test
                                                                                way to determine whether a CPP is



                          If   CPPs involve         lower           prices    paid by direct customers                relative     to      the   but for
                     world then CPPs can                                    consumers                                              payments




                     impact
                                                               benefit                        This     can occur        if   the                       are

                     passed on to consumers                     in    the form of lower            prices   or by increasing                non price
                     competition         so that quality adjusted prices                         would fall      However pass on may
                     not occur         for   a number of reasons                    including the         way     in   which the payments
                     are structured              whether        the    conduct      involves       inputs or     customers and the

                               on competitors 130 Various other                          efficiency     benefits       of exclusive              dealing

                     in principle        also     could apply            to    CPPs CPPs might lead to more promotion of
                                                    131
                     the firm?s product                   Like        exclusive     dealing        CPPs also might permit the firm
                     to   achieve       economies              of scale reduce risk or                 expand the market 132




                     pressure?
                          From the viewpoint
                     come at a significant                 cost
                                                               of    consumers however

                                                                      of reduced     competition
                                                                                                        these efficiency

                                                                                                            The ?upward pricing
                                                                                                                                      benefits        may




                     possible
                                from    raising rivals?               costs    may more than            offset   the    ?downward                pricing

                     pressure? from              incentivizing           the    additional       promotion Thus it               is   necessary         to


                     evaluate the net impact                    on consumers              This analysis         would implicate               the

                                market       power        of    the    excluding         firm This       rule    of    reason         analysis        also

                     would include               evaluation          of whether      the    benefits      are ?conduct
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          competitive
          necessary
               This type of analysis also                              is   relevant         if    the    CPPs are claimed                             to   be a way           for

          a firm to charge the monopoly                                      price on         non contestable demand                                        and the

                            price on             contestable            demand This price discrimination is                                                      not




          competition
                    economically                      efficient        or        beneficial              to    customers                  and competition In




          noncontestable
          particular               if    there       is sufficient           competition                 for the          contestable                  units

                  can force                the       uniform price               down        to     that       level with inframarginal

                                        units     also getting               the    benefit          of       that       lower            price




          threshold
                                         IV THE              INCREMENTAL                                 PRICE COST TEST




          compare
               Application of                    the    predatory            pricing paradigm                            to   CPPs would use                       a

                  price cost               test      as     a required             prong          of the            rule        of    reason           analysis           Two
          alternative               price cost            tests     might be suggested                              One            test    would simply
                   the        firm?s total revenue                     for all         units       sold        to   its       total       variable          costs        which

          amounts             to        comparing            the firm?s average price                                     including discounts                            to    its

          average             variable           cost         This          might       be        denoted                as an            ? average?              price cost

           APC test This would be a very permissive                                                            test       because            it   would involve                 a
          mixture             of    high        price       and low price units




          additional
               A second price cost test compares the firm?s incremental revenue on the
          extra  ? contestable? volume achieved as a result of the discount on the
                        units           sold    to   the incremental                costs of providing                               that   extra        volume This
          test    has been the focus                         of   most       analysis             of CPPs I                   will    refer       to   this test         as    the




          monopolist
          ? incremental?                  price cost               IPC       test 134


               To illustrate               the mechanics                    of   the    two        alternative                 tests suppose                     that a

                              initially          is    charging              the    monopoly                   price           of         100          In    the       face    of

          emerging               competition                 suppose             that    the monopolist                            offers         a lower price of
           say           95              customers                                 accept                                          but continues                        charge




          comparison
                                   to                         that      will                        exclusivity                                                   to

           100 to customers                           that    purchase             any amount                  from the entrant Suppose                                       that

          every customer                       accepts        the exclusivity                 agreement                       In     this   situation              the


                            of total           revenue            after      taking      discounts                  into account                   to total            variable

          costs        in     the        APC test           would compare                     the             95 exclusive                  price           to   the firm?s




          absent
          average           variable            cost Thus as long as                         the         monopolist?s                     average           variable          cost

          on     its    entire           production           is    less     than           95      it    would pass the test

               The IPC                  test   instead        is    focused            on    the         effect          of     the       CPP on incremental
          sales        made by             the       dominant          firm Suppose that                            it    can be determined                            that


                  conditions every customer                                   would have purchased 90 units from the dom



            134
                  This also has been denoted                       as a ? discount       attribution?           test          See e    g Cascade Health Sols v
          PeaceHealth               515    F 3d 883 901                9th       Cir 2008            ANTITRUST                 MODERNIZATION                     COMMISSION
          supra        note   121         at   83     see    also Jacobson             AMC?s         Proposed                 Test    supra       note      121 Jacobson
          Loyalty Discounts                    supra note         121 Eur Comm?n Guidance                                on the Commission?s                     Enforcement

          Priorities        in   Applying        Article     82 of     the   EC    Treaty         to Abusive         Exclusionary             Conduct            by Dominant

          Undertakings                  2009    OJ      C 45       7   Dec 3 2008
9




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              inant    firm    at     100      plus   additional         units     from    the   entrant    Thus       the

              monopolist      sells   10    extra   units    as a result     of   the   CPP These 10 incremental
              units   sometimes are referred          to as contestable           volume while the 90 other          units


              sometimes       are   referred   to   as the    ? non contestable? volume 135

                The comparison             of incremental          revenue   and incremental       cost   involves     the

              following    calculations        Absent        the    CPP the monopolist would have               earned

              total   revenue of
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          further
          incumbent
          would capture                     that        behavior         only if       the          entrant       is    equally            efficient           Following

          this        reasoning              a     less efficient              competitor                would          be      unable        to        outbid            the

                                for       non exclusion                while remaining viable                                However               it   has been

                      argued that                this also       is   a beneficial                  feature      of the         test    because           competitors




          plaintiff
                                                                                                                                                                      137
          are unworthy of                         antitrust       protection               unless they                 are      equally          efficient




          success
                In contrast                 the     IPC test evidence                  might             be used as a ? sword?                          for     the

                     under          the   predatory             pricing          paradigm Suppose                            that     the    test       indicates              that

          the incumbent                      is    charging           an incremental                     price     that         does not cover                      its     costs

          This evidence                     can suggest anticompetitive                                  animus and an expectation                                        of

                          when neither may exist

                While the IPC test might seem appealing as a useful                                                                   bright line             standard                 it



          actually             is   fundamentally                flawed 138 First it                       is   not administratively                          efficient                It




          circumstances
          is neither                simple nor accurate                     to      implement Second                            the    test is          not reliable                   It


          commits               ? false          negative?            and      ? false         positive?           errors depending                           on         the


                                          Passing         the    test    does not              rule        out anticompetitive                          exclusion               and
          failing          the       test    does not prove anticompetitive                                      exclusion              either most                  or all of

          the time and whether                              or not the entrant                      is   equally         efficient            Nor is           it    the case

          that       only equally                  or   more efficient                entrants           have procompetitive                            effects           on the
          market The IPC test                             also fails          to    provide           reliable          evidence             on antitrust                 injury

          While failing the IPC test may have                                              a   minor role in inferring anticompetitive
          purpose               its   substantial               flaws prevent                  it    from being                 either a          useful            threshold




          competition
          test        for      illegality           or    a primary                 evidentiary             factor            Instead             courts            generally

          should           rely       on the RRC foreclosure                           analytic             framework                 to   show harm to
                               At the same time plaintiffs                                  should          be prepared                 to   explain why they

          failed          to    obtain            sufficient          distribution                  by counterbidding                       or    how         their         costs

          were raised




          criticize
               137
                     Posner         supra        note   100
               138
                     For a different             view     see   Benjamin Klein                      Andres      V Lerner Price Cost Tests                           in    Analysis

          of   Single Product               Loyalty Contracts                 80 ANTITRUST               L J 631 665? 69 2016 The authors
                     the approach           of    applying      the raising rivals?            cost      paradigm        to   CPPs      as exclusive           dealing                 is




          impact
                                                                                                                                                                                  It



          noteworthy that they                     do concede         that CPPs        can     lead to higher            list   prices       id   at    659? 60           and     that

          they       can be used                  achieve     exclusive dealing              Id at 661? 65 I believe they also understate the




          monopolist
                                            to


          various         effects     discussed          here    See     infra      Part   IV B Specifically I believe they understate how a
          CPP can be used either to induce distributors not to provide                                             the     distribution          input    to entrants             and

          the   adverse         effects      of the entrant?s          coordination issues                 in   bidding against            the incumbent

                     Klein          Lerner supra at             668     nn 78? 79 They                also concern              themselves        solely with the

                     of   CPPs       in competition           with equally           efficient       rivals      which is incorrect               in    my view             for    the

          reasons          discussed         in this      article      Id      at   633? 40          666    n 73        defending          the    requirement               for        an

          ? equally efficient competitor?                       parameter            They      also      assume    that       the only impact            of    the       CPP is to
          shift      market share not increase                        total    purchases            which       they    say      is   commonly           the    situation              in

          litigated        cases      Id at 644 But if                output     does not           change       then    the     CPP does not raise allocative
          efficiency
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                             A THE IPC TEST                            IS      NOT ADMINISTRATIVELY                                  EFFICIENT


                In the context                of   plain vanilla predatory                            pricing the IPC                  test       is    considered

          an administratively                       efficient          bright          line    standard Whatever                           one thinks                 about

          its       efficiency         for       predatory             pricing          it    lacks such                benefits       in        the        context         of

          conditional             pricing practices                       In   fact     it   is complicated                  to implement and likely

          leads       to    measurement                  errors


                This complexity                    can be illustrated with the simple CPP example considered
          earlier Suppose                   that     a   monopolist                  initially        is    charging           the    monopoly                   price      of

               100 In the face                of emerging                 competition                 suppose           that      the monopolist                      offers

          a discount            price       of      95 to the ? loyal? customers                                 who agree            to    purchase              at least

          90 percent             of    their       total    purchases                from the monopolist                          and the price                  of        100




          calculation
          to    ? disloyal? customers                       who purchase                     more than 10 percent from the entrant
          Suppose           that       the monopolist has marginal                                    cost       of     60 To make                     the




          marginal
                     simple suppose                  that        all      of   its   other       costs          already        have        been        sunk           and it

          has       no fixed costs

                At the ?conditional?                     price         of       95 the monopolist more than                                  covers              its




          supplying
                      costs       of        60      so     it    clearly         would be immunized under                                        the        APC test
          However               the    IPC test          is      more intrusive                  This           test    would compare                       the     firm?s

          incremental              revenue resulting from the                                 CPP to its               incremental           cost           of

                    the    additional            units      Thus to implement the test it                                      is    necessary              to    predict

          how many more units                            the         monopolist?s              customers                would purchase                      from it         at




          implemented
          the price of                 95     rather       than        at      the   price       of        100

                This       prediction              often        is     not     a simple matter                         Before         the    CPP is
                           the     demand at                100 might be observed but not the demand at                                                           95 Or
          if    the case          is   brought           after        the implementation                          the       demand          at        95 might be

          observed              but not the             demand at                100 Demand                      conditions           may have changed
          in    the       meantime            or    the         purchases              may be made by                         a     new     customer As a




          calculations
          result the two sides often                             will       disagree about                 the    magnitude            of the contestable

          volume because                    they are relying on                       different        source documents                          or    other

                           In addition              actual purchases                     may differ from purchases expected                                                 or

          alleged          to   be     expected                 at   the time that               the       agreement                was made For these
          reasons           the    test     often        will        be     somewhat subjective                          For all these                 reasons             the

          predictions             of    the      test    could         be incorrect leading                            to    implementation                      errors


                Nor can a court evaluate a CPP merely by analyzing                                                             a conditional                 list      price




          Consider
          schedule           that      may have                 been      published            by the           firm In such schedules                                 there

          often are narrow regions                              where incremental revenue                                   falls   short        of    incremental

          cost        The results             of the        test       generally will                 differ       among the customers
                      a    customer           that      would purchase                       90 units            at    the    discount           loyal           price of

               95    but only 89              units        at    the        disloyal          price        of      100         For    this       customer the

          incremental              revenue          is     negative              The         price     of       the    one     extra       unit        is   swamped
          by        the     5 discount              on the 89                  units    that      would have                   been        purchased                  at   the
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          higher price
                                        139
                                               By contrast               for the           customers           that   would have purchased only
          50     units           at    the    disloyal price                   the       incremental              revenue       would be much higher
          and the IPC test would be passed 140


                     B FALSE NEGATIVES PASSING THE IPC TEST                                                                IS    CONSISTENT WITH
                                                              ANTICOMPETITIVE                         EXCLUSION

               Using              the    incremental               price cost               test    as    a threshold            ? shield?           is   subject        to




          incremental
          serious            concerns              about      false           negatives            First the incumbent                       enjoys        a number
          of inherent                  bidding advantages                          that     may eliminate its need                      to   charge        an

                            price        below cost               to    exclude            even    an equally efficient                      entrant       and even
          when             the        exclusion          harms consumers                           While a distributor would                               retain       the

          nominal choice                           of whether              to       accept        the exclusive                 the effectiveness                  of   its




          competitors
          choice            is    impeded               by these bidding advantages                                   that      come from the market
          power            of     the dominant                firm Second                    competition              from less efficient
                     into a monopoly                      market              typically        increases           consumer welfare by causing


          underdeterrence
          prices           to

                           Third
                                  fall       so

                                             the
                                                   a   focus

                                                    nominal price
                                                                  on equally efficient
                                                                                     charged         to    ?
                                                                                                               entrants         can lead

                                                                                                               non loyal? consumers
                                                                                                                                                to

                                                                                                                                                            does not

          necessarily                   reflect         the   competitive                    benchmark              price        In     fact     that       nominal

          price           may exceed the unconditional                                       price       that      would         be charged               absent        the

          conditional                   pricing practice                      It     may even be above                       the      monopoly price In

          sum bidding competition




          result
                                                                       generally            does not require                 the      excluding            dominant

          firm to fail                 the     IPC test even after including the cost of exclusion                                                    in    its    costs

          in    order           to    maintain its            market               power against an equally                           efficient       competitor

          For        all    these reasons                  a dominant                      firm can use            CPPs to achieve                    enhance            or

          maintain market                          or monopoly                     power even             without          failing       the    IPC As a
                      focusing                on   that    test        is error            prone


                             1 Bidding Often Takes                                   Place        on a Non Level Playing Field




          incumbent
               The predatory                       pricing paradigm                        and the conventional                    rationale          for      the     IPC

          test       assume that bidding for distributors or customers                                                           takes       place        on      a level

          playing field                       This assumption                       is   generally not the case                       A dominant
                      firm has            significant             bidding advantages                         It    may have a timing advantage
          It   also        is     bidding          to maintain its                   market        power           while the          entrant    is       attempting

          merely             to       obtain           more competitive                      profits       A       dominant            firm     may have                the

          additional                  goal        of   raising          its    competitor?s               costs       or   foreclosing              its    access        to

          efficient               distribution            not simply                     selling    more output These differences                                      lead

          to    the        monopolist being                       able         to    recoup        simultaneously                  with       the     CPP These
          differences                  also        lead to        the     IPC test lacking                   probative           value



               139   In this      example          the incremental revenue                   is   negative         350 that is          95 minus          445      i   e 89
          x     5
               140
                     In    this   example          the incremental                 sales   are 40 units and the revenue                 is    3550 that         is     3800
           i   e      95 x 40            minus          250   i   e 50 x 5 or an incremental                           price     of    88.75     i   e      3550 40
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                                                       a No Counterbidding                               Possible


                A dominant firm may tie up customers                                        distributors                     or       other input              suppliers

          before        the     competitors              even        arrive       on        the          scene          or are              in    a       position         to




          competition
          staggered
          counterbid            For example key                      distributors                may be encumbered by long term
          contracts           with the incumbent                dominant              firm In              this situation                        bidding

                    never           even takes          place        If    the    renewal                dates     of            the contracts                 are

                       the      entrant         may not achieve                      positive              profits               even        after        winning          a
          majority            of contracts            up for renewal                 the         first     year         or       two As               a    result the

          dominant            firm       may be able to acquire                       the        exclusive                  at    a    very       low price




          exclusives
                There         can    be    significant          incumbency                 advantages                       that        lead foreclosure                   to


          succeed        even        when        contracts       have          short duration                     including                 where the
                   are terminable                at    will     In each          period the                 entrant?s                  disadvantage                  in   the




          foreclosure
          bidding        competition              is   identical           Therefore                the         fact        that        exclusive              contracts


          have     short terms             or have       identical             termination dates does not eliminate

                        concerns




          shortterm
                                     b     Dominant            Firm Is Bidding                      for        Market              Power




          valuable
                Even     if    the bidding            competition              can    occur and even if                                 contracts are

                    the incumbent                 dominant                firm or monopolist has                                       an   inherent             bidding




          contest
          advantage            This       is   because        maintaining             market              power             is inherently                 more

                  than achieving                 viability       in       a competitive                    market                 If    the dominant                   firm

          wins     the        bidding contest                 that    outcome              will          allow         it     to       maintain            its    market

          power and monopoly profits In contrast                                            if     the     entrant               wins the bidding
                  and obtains              the necessary                  input      its    entry           may succeed                          but the entrant




          distribution
          would only be able                     to    obtain        lower more competitive                                       profits In this                  sense
          the dominant               firm is attempting                   to   purchase            market          power as well                          as




          antitrust
                   whereas the entrant                   is    attempting             to    purchase               only distribution                             For this
          reason         the    monopolist?s             bidding advantage                               while following                          naturally            from

          its   incumbency                and monopoly               power does not deserve protection by the
                   laws

                This point          is   straightforward             to illustrate               with an          example                   of    foreclosure             for

          a distribution services input Suppose                                      that        a firm is         earning                  annual         monopoly
          profits      of       200 which would be maintained                                        if    it    deters the entry of                             the   new
          competitor            Suppose           that    successful             entry           by an equally                         efficient          competitor

          would lead to the dominant                           firm and the entrant                         both earning                     annual         profits of

            70 so that total                   industry        profits         would         be           140 The                      lower      total          industry




          nonexclusive
          profits      occur because              of    the    price       competition                   resulting from                      successful entry




          bidding
          For simplicity suppose                        the    entry can succeed                          only if           the        entrant        obtains

                              distribution            services input from                        a specific                 critical         distributor



                The analysis              here    focuses        on competition                          for    distributors                     where           the

                   by    the        monopolist          involves           an annual lumpsum payment                                               for      exclusive
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          realizes
          distribution


          The entrant only attempts


          the
                      that

                     entrant?s
                                   the
                                          while



                                          distributor

                                           status
                                                      the




                                                        as a
                                                            bidding

                                                                        to
                                                                               by the entrant

                                                                             obtain

                                                                   would be unwilling
                                                                    smaller competitor
                                                                                            non exclusive
                                                                                                             is




                                                                                                            to
                                                                                                                   for




                                                                                                                   provide

                                                                                                            or because
                                                                                                                             non exclusive
                                                                                                                         distribution                     because

                                                                                                                                        exclusivity in light

                                                                                                                                         it    places
                                                                                                                                                                 distribution




                                                                                                                                                                 no value on
                                                                                                                                                                               it


                                                                                                                                                                                       of



          exclusivity


               In       this simplified                  example                the     entrant        would            be willing to bid an annual
          lumpsum payment                               of no more than                      70     for its       non exclusive                          distribution                 But




          distribution
          the dominant                      firm would                  be willing to bid a fixed payment                                                 up to              130       for


          exclusive                 distribution               which           eliminates             the    entrant?s                 non exclusive




          preentry
                         the        difference              between            its    monopoly              profits           of         200 and                 the        duopoly

          profits             of      70




          bidding
               In this example the monopolist would win                                                      the       bidding                and maintain its
                         exclusivity                 and market                power         with       the       critical             distributor                  for       a     fixed

          payment of only                   71 At this payment level the profit of the equally efficient
          competitor                  would have been negative  i e 70 ?    71        had won the                                       if     it



                         once         the      market              price      adjusts        downward                  to     the       competition                         But the
          monopolist?s                      incremental                 profits        evaluated            at    the        preentry monopoly                                     price

          from achieving                       exclusivity               are      129        i    e     200 ?                71 which is positive even
          after         subtracting                  out the            payment          for      the exclusive                        This         is    because              of     the

          entry destroying                           effects        and monopoly preserving                                       effects           of        the     exclusive

          Note also that since the monopolist                                               continues             to    earn           a profit           of          129 it          will

          pass         the         IPC test Yet consumers                              are       made worse off 141




          suppose
               In fact               even       if    the     entrant          were somewhat more efficient                                              it    might          still    be
          unable              to    outbid        the   monopolist This reinforces                                     the    point           that the           incumbent?s

          bidding              advantage does not deserve                                    antitrust        forbearance                           For       example
                        successful              entry would lead                       to   the     more efficient entrant earning                                             profits


          of         100 and the monopolist                                  earning         profits        of only                70 In this scenario                                the




          monopoly
          entrant             would be willing to bid up to                                           100         But         the monopolist                            would be

          willing             to     bid       up to          130 So once again                             the    monopolist will                              prevail             now
          with          a winning bid of                           101 The monopolist still                                  is    able        to    preserve                 its



                              power though                    it    now is sharing more of its monopoly profits with the
          distributor                 And again                    it   will     pass       the    IPC test




               141
                     The      analysis has assumed                      an   annual     lump sum payment rather                          than        a   long term contract
          The        latter    would replace            the    annual        profits   with      the net    present value               of    profits The             analysis        also


          has assumed                that   the      bidding involves a lump                 sum payment                rather than             a lower          unit       price This

          latter       assumption           could create            downward           pricing     pressure        on the         distributors?               prices        that    would




          competition
          need to be               taken into account              in   the competitive           effects    analysis             If   the lower              price    is    structured

          in   a way          that   it   is   passed on           then the lower prices              could lead             to   a consumer                  benefit       that    would
          need to be               balanced       against      the      upward       pricing      pressure       from        the elimination                  of entry

                       However pass on cannot                           simply    be    assumed
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               These examples also                              illustrate             the   point that the anticompetitive                                        conditional

          pricing            practice              does not involve                     discrete            predatory                   and    recoupment                    periods

          as     in        the    case of classical                       predatory             pricing Instead                           the recoupment                        occurs

          simultaneously                          with        the        conduct         This         is    because                 the       monopolist                is    able         to

          maintain its                      current       monopoly power through                                       the exclusionary                      conduct

               Counterbidding                            by the entrant                  for     non exclusion                          can be an even weaker
          constraint               when            there is              sequential          bidding                 for    multiple            critical          distributors

          For        example suppose there                                  are   two retailers and it                             is   necessary            for the          entrant

                obtain            non exclusive                                                      both                  order              be viable
                                                                                                                                                                  142
                                                                                                                                                                             Suppose




          monopolist
          to                                                         distribution at                             in                     to

          that        the negotiations                        over        exclusivity            at    the       two stores are sequential                                      In this

          scenario                the       entrant       would have no                      incentive               even         to try      to    outbid         the




          straightforward
                       at    either

                           once         the
                                             store        The steps to
                                                  sequential
                                                                                       the

                                                                          bidding process
                                                                                              explanation

                                                                                                                is   unpacked
                                                                                                                                 of this result             are




               Suppose                 that        the    entrant          did     win the bidding competition                                         at    the        first        store

          by paying                some amount                           X However               in bidding for distribution at the                                           second

          retailer               the    monopolist              would be willing to bid up to                                             130 as above                       whereas

          the entrant                  would not be willing to pay more than                                                       70.143       This        means that the
          monopolist                    surely will             win         the    exclusive               at    the        second            retailer       which              means




          distribution
          that        the entry will fail                      Now looking                      back again to the negotiations                                          at   the first

          store the               entrant           would have lacked                        any incentive                        to    pay the         X to gain
                            at    the first         store This              is    because             the entrant                  rationally         would anticipate

          that        it    is    inevitable             that       it   would fail             to    win distribution at the second                                          retailer

          in    the face               of the bidding                    competition by the monopolist                                             and its entry would
          fail        Thus             it    would            not have            an     incentive               to        bid     for       the    first    store            once          it


          understood                   the        impediments As a result the monopolist                                                        will        be able           to     gain

          the exclusive                      at   both stores              for    very       little        This        also        means that the monopolist

          clearly will                      pass    the       IPC test Again the use                                       of     the     IPC test leads                     to      false

          negatives




          excluding
                                                    c     Counterbidding                        Raises Entrant?s Costs




          suppliers
               The          rival?s           very       act    of counterbidding                          to    prevent                the monopolist from




          produces
                                 also       can raise the entrant?s                          own       costs          For example consider                                   the     case

          of a monopolist                          currently              purchasing            from two highly competitive                                             input

                                              a specialized                 input                                                using       some input that




          monopolist
                           that    sell                                                  in addition                  to                                                        it


                            itself          Suppose            that        a new          entrant           is       not integrated                   and requires                        the

          inputs            being sold               by these input suppliers                                   In    response                suppose         that           the

                                 offers the          two        suppliers              higher        input prices                   in    exchange           for a           promise




               142   The         same       analysis      would          apply    if    there    were       more            than       two    distributors         critical          to   the

          entrant
               143
                     The     entrant         would       be willing to pay              only         70 _       X     if    it   irrationally       were to ignore the                    fact


          that       the     X was          already       a   sunk       cost
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          not        to    supply             its    new competitor                         or   not      to    supply it            with very                much      of the

          input 144              Suppose              that       one          of     the     suppliers           accepts             the        monopolist?s                offer

          which            in    turn permits the remaining supplier                                             to    charge         a higher input price to

          the        new entrant 145

                In this scenario                      the       entrant         is    not    totally       excluded It does gain access                                     to   the

          input But the                        entrant?s              costs        will     be raised and                it    will        have        the     incentive              to

          charge            a    higher price                    to    consumers reducing                             the competitive                     impact            of    its

          entry This reasoning                                  also     illustrates             the    flaws         in a total           foreclosure              standard

          It   also        indicates                why the IPC test is not                            a useful         screen             There         is   no reason to

          expect            that      the monopolist                     will        have     to       pay so much more                         for     the input       that          it


          will        be placed                in    a loss position



                                               d      Counterbidding                        and Coordination Problems



          distribution
          payment
                The entrant also faces a coordination                                                   problem          when         it    needs         to    gain

                           from multiple distributors                                  in    order        to    be    viable          It    may be the case that
          no     individual                   distributors will                      be     willing        to    forgo         the        CPP exclusivity
                          from the monopolist                             even         if   the        entrant        offers     a larger payment Each
          distributor                 may fear              that        the     entry        will       fail     and     it    will        end up             forgoing           the

          payment offered by the monopolist                                                 with        no offsetting            benefits This can create

          an adverse                  self fulfilled              expectation                 whereby each                                              forgoes        dealing




          monopolist
                                                                                                                              distributor

          with            the entrant               out    of     a fear           that     the entry will               fail    simply because                        enough
                                                                                                           CPP exclusivity from the

          disincentivize
          other           distributors will                     choose          to    accept        the


                     out        of   their fears that                   others         will      do the same 146                     This        fear     also      may
                                       the          entrant           from           investing           resources             in         initial        distributors                 in

          anticipation                  of      making            subsequent                 deals with               enough          distributors                  This         is   a




          addition
          possibly               fatal      problem if                 the    distributors              cannot          coordinate               their        responses to




          entrant
          the monopolist?s                          and entrant?s                  offers While                 this does        not        mean that exclusion

          is    inevitable               it     does mean                that        the    entrant        faces       an additional                   hurdle In

                          the    hurdle          may raise the                     entrant?s           variable costs                if    it    has     to    compensate

          the        distributors for their                           perceived             risk       These higher costs will make                                    the




          Barrier
                          a weaker competitor 147 Here too the IPC is not a useful screen



               144
                     For the seminal                 analysis     of     this   scenario          see Oliver          E Williamson               Wage         Rates   as a

                     to   Entry        The Pennington                 Case      in   Perspective          82    Q J ECON 85 1968
               145
                     Krattenmaker and Salop                           refer   to     this   scenario      of    the   unrestrained              input    supplier?s     gaining

          market power                 from         the    exclusivity          as the       ?Frankenstein             Monster?            scenario       Krattenmaker

          Salop   supra note 12 at 240 For similar analysis in the context                                                    of a   vertical       merger see Ordover
          et   al supra note 53
               146
                     For the basic             economic          analysis in the context                  of   exclusive       dealing          see sources         cited    supra

          note       65
               147   This selffulfilling                  prophecy        analysis would               apply    to    final   customers           as    well as distributors

          or other          input suppliers                In   Lorain        Journal it         does not appear              that    the Journal             offered a lower

          advertising price to                   advertisers          that    chose to advertise               exclusively with it               Instead       it   appears      that


          the    Journal             gave     advertisers        an all or nothing                choice       Lorain         J Co v            United States          342       US
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          incumbent
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               Entrants                    may face               a     different         type      of coordination                 problem                when            the

                                 defendant                   is targeting              multiple smaller competitors                              with          its   CPPs In




          exclusive
          this    situation counterbidding                                           raises   a potential free riding problem among the

          targeted               competitors                      If     one targeted               competitor             convinces                 a    distributor              to

          forgo            exclusivity                     all    the       rivals      may gain           the    benefit      of       achieving               non
                       distribution                        This       free riding problem can reduce                                 the       incentives                  of    any

          one competitor                              to    counterbid                 even    if    coordinated           counterbidding                            by    all    the

          competitors                       would succeed                        in    outbidding           the   defendant               It    indicates                 another

          advantage                   that        flows simply                   from the dominance                      of    the      incumbent not from
          any efficiency benefits


                                                  e    But Counterbidding                           Sometimes Can Succeed




          customers
               The incumbent?s bidding advantage                                                     is    not always          prohibitive                     This        can be
          shown with                        a     number               of     fact     scenarios           First    the       entrant           may            not        have     to




          including
          counterbid                   if    it    can use equally                       cost effective           ? direct     distribution? to

                  Second                    the       entrant          sometimes              can overcome the incumbent                                   monopolist?s

          bidding                advantage                  with        significant offsetting                    cost     or    quality             advantages

                             significant                    product           differentiation              This can be           illustrated by                      returning




          willing
          to the           earlier           example with one critical                               retailer       Suppose now that                            if   the entry

          succeeds                the        two competitors                          each    would earn            profits of                 120         for       a    total    of

           240 Given                         these          facts the monopolist                          would be willing to bid only up to
           80          i   e 200 ? 120                                 to   exclude          the entrant          But      the      entrant              would be




          exclusive
                  to        counterbid                      up to            120       for    the    non exclusive               distribution                   to       avoided

          being            excluded Thus the entrant would be able                                                    to      outbid           the        monopolist              by

          bidding                above                80         say        81 and will              be able achieve                the        critical         non
                   distribution                        needed            to    survive        and     compete on an equal basis




          profits
               The          crucial               difference                between          this    example and               the      previous                one        is    that

          total        industry profits here under                                        duopoly          competition              i   e 240 exceed the
          preentry monopoly profits                                              i   e       200      This increase              in total            industry profits

               what leads to the entrant having the bidding                                                       advantage               Total           industry




          monopolist
          is

                 can        rise           when the              entrant         is    producing           a sufficiently            differentiated                       product

          or where                it       has        sufficient            cost or          quality efficiency               advantages over                            the

                                 If        there also is               tacit     coordination              or parallel accommodating                                  conduct

          the reduction                      in       industry profits from entry also                              will   be lessened                    at   the margin

          though             consumer welfare                               will       not    rise by       as    much

               Third the entrant also can gain a bidding advantage when                                                                              it    requires              only




          successfully
          limited            non exclusive                         distribution               In    this    situation          the      bargaining                   power         is

          altered           and the entry can succeed                                        In order       for the       monopolist to exclude

                                      it    would                need       to   outbid        the        entrant    at    multiple                  or        perhaps           all




          143     149        1951 However                         this      analysis     of the self fulfilling      prophecy           phenomenon                   would       carry

          over    if       the    Journal had offered such                            exclusivity     discounts     to   advertisers
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          stores This need                    to   compensate those multiple                                    stores         would increase                      its   costs

          of exclusion                perhaps            prohibitively                    Under these                   conditions               the     entrant           may
          be able to offset                  the    monopolist?s                    asymmetric incentive                            to    maintain its market

          power


               To illustrate             this      dynamic most simply                                  return          to     the   example              above with




          distribution
          two         retailers       and post entry profits of                                       200 Suppose now                             that    the entrant

          requires           distribution           only at          either one of                the stores but does not require

                        at    both stores The monopolist                                       can anticipate                that    the        entrant       would be
          willing to bid up                   to        70    to    win        at   one        store Therefore                      the        monopolist has                to

          pay          71 to each of the two                                            equal                            payment                       142 in order



          successful
                                                                    stores                           to a      total                            of




          succeed
          to    deter        the entry         But           that    total          payment            of       142 exceeds                     its   ? incremental?
          monopoly profits of                           130 from protecting                           its   monopoly Anticipating                                  that

                            foreclosure            would            be too expensive                         the     monopolist                  might not bid                a
          significant              amount          at either         store          if    at    all     As a result the entrant would

                      in     gaining         distribution                with       a    low payment


               In      these       latter     scenarios              the entry                 can succeed                if    the entrant               attempts           to


          obtain            distribution            This       shows            that       exclusion               is    not inevitable                   despite          the

          asymmetric impact                        of    the incumbent?s                        market         power Market                       power gives the
          incumbent                an advantage                in    the bidding                 competition but the existence                                        of the




          incumbent
          advantage             may not be determinative The                                            examples               also        show         that       the     IPC
          test       adds nothing              to       the analysis                     However the examples indicate                                             that    the

          entrant           should      be required                 to    explain why                  it   was unable               to        outbid the

                      or     why attempting                   to     do so would have been                                     economically                   irrational


          given the            particular           conditions                 in the          market




          marginal
               Fourth counterbidding                               can succeed                  in    scenarios           where the                   entrant       already

          has        become a sufficiently established firm so that some customer                                                                         foreclosure

          does not            raise the risk             of causing exit placing                               the      entrant           at    a material
                     cost    disadvantage                or    facing          the       prospect of losing its                           incentives           to    invest

          In this situation                  each        customer              may represent                     a   separate opportunity                            for   the

          entrant            This scenario                also       is    more likely                  to     apply           when the CPPs involve
                                                                                                                                    148
          bidding            for    final     customers              rather             than     for    distributors


               Thus           this   analysis            also       explains              that    foreclosure                  is   not inevitable                   Under
          certain           conditions         the        entrant          can outbid the incumbent                                  if    it    tries    In fact          the

          incumbent                sometimes                 will    lack           an    economic               incentive                to     counterbid                The
          facts        matter




          customers
          given
               148
                     This analysis can

                        not

                      that
                               distributors

                              the

          unique indications created
                                     court
                                               be



                                              also
                                                        applied

                                                   Eisai apparently

                                                        rejected

                                                        substantial
                                                                    to    Eisai Sanofi



                                                                         the
                                                                                    was
                                                                               claims that
                                                                                           not



                                                                           bidding advantages
                                                                                                  and

                                                                                                  at    risk
                                                                                                            Eisai




                                                                                                       Sanofi?s

                                                                                                                See
                                                                                                                     were      bidding

                                                                                                               for exit or losing incentives

                                                                                                                        formulary

                                                                                                                         Eisai      Inc
                                                                                                                                                for




                                                                                                                                           access

                                                                                                                                           v Sanofi
                                                                                                                                                      sales   to



                                                                                                                                                       agreements

                                                                                                                                                          Aventis
                                                                                                                                                                   final

                                                                                                                                                                    to   invest

                                                                                                                                                                            and

                                                                                                                                                                           US
          LLC 821 F3d 394 406? 07                             3d    Cir 2016
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                                  2 Less Efficient                      Competitors Have Value                                    to        Competition




          discussed
          benefit
                It        might be argued                    that     the     IPC test             is    useful         because              only equally                       efficient

          competitors                    are     worth protecting                         by       the     antitrust             laws 149              However                       as


                            earlier this premise                           itself       makes no economic sense 150                                          Entry by                 a less
          efficient              competitor              into        a monopoly market                          that      causes            lower           prices will

                     consumers




          monopolist?s
                A monopolist may have                                      the      incentive             to    raise         the costs                of    a less             efficient

          potential               competitor                in order         to    destroy          its    prospects of entry                          into the

                          market To                 illustrate             assume that the monopolist                                        has marginal                        cost           of

               50     and charges a monopoly price of                                                   100 Suppose                    that       there            is   a      potential


          entrant              with marginal cost                       of         75 If the entry were to occur the market price
          would fall                   below           100          This entry                clearly          would          benefit            consumers
                                                                                                                                                                               151




                Suppose                  however that                 the     monopolist                  could          raise the           entrant?s                  costs above




          monopoly
               100 by paying one or more critical                                              input           suppliers          to    refuse              to     deal with the

          entrant               so that         the     entrant         would            be unable              to      survive             at   the        monopoly price

          of         100         This exclusion                      would permit the monopolist to maintain its
                     price        of       100 which                  thereby             would           harm consumers152                                 Or suppose the




          substantially
          entrant              would          be viable              but     the    exclusives                 would prevent                      it    from obtaining                           a




          victim
          significant                  enough market share                              to    force       the monopolist                         to    reduce price

                                   It    is   hard          to    see      why      antitrust             should          permit exclusionary                                   conduct
                                                                                                                                                            153
          that        would destroy or deter                                 this       competition enhancing                                entry




          condemned
                Courts have not generally rejected exclusion




          efficient
                     firms         were
                                 the customer
                                                less efficient




                                 entrant 154 In Microsoft
                                                                 foreclosure
                                                                              competitors



                                                                                        the
                                                                                             towards

                                                                                               DC          Circuit
                                                                                                                        claims simply because

                                                                                                               In Lorain Journal

                                                                                                                WEOL which                             likely

                                                                                                                              did not inquire into whether
                                                                                                                                                             the Court

                                                                                                                                                                        was a
                                                                                                                                                                                 the




                                                                                                                                                                                          less




          the        potential           operating               systems deterred                        by Microsoft?s                      conduct               likely            would



               149
                     The       concept     of    ? equal         efficiency?        is   generally characterized                  as    equal costs                However                when
          products             are differentiated             the concept           of equal        efficiency           is   more complex because                             production
          differentiation                involves       the      view      by consumers                 that   one      product        is    superior             to    another           If    its


          product          is   superior        a   firm would be viewed                      as more efficient                ceteris       paribus              Thus         a producer

          of a differentiated                 product        that    has     higher costs would                 still    be viewed           as more efficient                       by some

          consumers For further details of this distinction                                         see Steven           C Salop Refusals                        to Deal        and Price
          Squeezes              by an Unregulated                 Vertically        Integrated Monopolist                        76 ANTITRUST                     L J 709             2010
               150   See supra Part              II   and     text   accompanying                  notes       97? 99
               151
                     It   often    would        raise       total    welfare        as well
               152
                     The        exclusion       clearly       would        be profitable            for   the reasons            discussed             already

               153
                     It   is    possible      that the        fear    of     the    potential       entry by            the   less     efficient        entrant          alternatively

          would           cause the monopolist                   to engage          in   a limit        pricing     strategy          For example                  if   the     perceived
          potential            entrant    had constant              marginal        cost      of    75 and high capacity                     the monopolist                    would           find


          it   profitable          to    reduce       its    price    down         to     74 in order           to deter         the    entrant         Again            it    would           not

          make            economic        sense for          antitrust       law to allow           the monopolist               to    deter      the       entry by raising the

          entrant?s            costs     and maintaining the                  100 monopoly                 price        rather    than       by reducing                its    own price
               154
                     Applied to the             merger context                the acquisition of such                    a unique           less efficient              entrant       would
          violate Section                7 of    the Clayton            Act unless there                 were     substantial           merger specific                       efficiencies
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          be     as    efficient             as      Windows                This            approach            also        makes economic                           sense           for


          CPP matters Even if the entrant                                             is less      efficient           CPPs can harm competition




          instead
                              3 CPPs May Involve                                      Penalty          Prices         Not True Discounts


                CPPs may not involve                                real        price        reductions              Instead          of    offering                a discount

          off its         initial       monopoly                  price         in    exchange                for   exclusivity             the monopolist

                       may implement a price penalty above the monopoly price for customers
          that       fail    to     purchase                exclusively                    from    it     or fail        to   purchase                 enough              In     this

          scenario            there is            no true discount and no potential                                           consumer             benefit               from the

          CPP strategy For the same reason the incremental                                                                    price cost               test clearly               has

          no    predictive              power           for       screening competitive                             discounts          from anticompetitive

          ones




          monopolist
                To illustrate                 suppose              that a            monopolist               is initially       charging                the        monopoly

          price        of     100         In      the      face     of emerging                   competition suppose                             that         the

                  implements a CPP                            whereby                 it    offers the              100 monopoly price                               for       loyal

          exclusive            customers                   but charges                 a higher price say                          125 for non exclusive
          customers                In    essence              the        monopolist                threatens           a    true   price penalty                         to    those




          monopolist?s
          ? disloyal? customers 155                                This              25 penalty           may drive customers                              to       accept           the




          consumers
          deal even               if   they         would          prefer            to     purchase           more from              the    entrant                at   the

                               previous               unconditional                         100 price Of course the successful use by




          recoupment
          the monopolist of                          the     penalty             price structure                    eliminates         any         benefits               to

                            who continue                    to    pay the monopoly price                               of      100 Once again




          sacrifice
                       occurs          simultaneously                      with            the   exclusionary                 conduct


                In            scenario                       IPC test would not necessarily                                                        any profit




          definition
                      this                           the                                                                        identify

                     by     the     dominant                firm156             If    the price           for       disloyal       customers                   is set         above
          the     monopoly level it                           would             be     less profitable for the                        monopolist                     by
                       Thus            the    incremental                  sales            gained        at    the      monopoly price                             necessarily

          would increase                      its    profits            As a result                the        monopolist?s             CPP certainly would
          pass       the     IPC test




            155   For economic                analysis        of    penalty           prices      in    the    context      of bundled            discounts              see    Barry

          Nalebuff          Exclusionary              Bundling            50         ANTITRUST          BULL 321              2005         Patrick        Greenlee             David

          Reitman             David Sibley An                 Antitrust          Analysis of Bundled                 Loyalty Discounts                  26 INT?L          J INDUS
          ORG        625      2008           Klein and Lerner also explain                             that   CPPs     likely   do lead           to    list    prices     that are

          higher than the              uniform        price       that   preceded           the imposition of the CPPs                     and    that     these conditions

          may support             de    facto       exclusive dealing                  Klein           Lerner        supra note        138        at   660
            156   In   this   scenario              there    is   no profit sacrifice because                       no customer         actually           purchases            at   the

           125 price          The        penalty        price      is    just    used as a         threat      point to       induce       consumers                to   accept      the

           100 exclusive               price As a result                  the        dominant firm never               sells    any    units       at    the penalty            price

          when       the    threat      succeeds            Professor Crane                 has suggested            that   a threatened           penalty price above

          the   profit maximizing monopoly                               price        is   not credible         Crane         supra note          121          at    462 But his
          claim ignores            the    fact      that    the   threat    can        be   made       credible      by embedding            it    in the           CPP contract
world




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                     4   Discounts   and Effects Must Be Evaluated        Relative      to   the   ? But For
                                                           World?


                    A false negative issue also arises when a CPP discount price exceeds                       the

                  competitive   benchmark   price   that   would occur   in   the   ?but for
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                     and         that       they        fail    a rule of reason           analysis             we will       not     opine       on   when      if




          explains
                                                                                                                              157
                     ever the price cost                          test   applies      to   this    type of           claim



               The             court?s             approach? premised                       on      its     factual           determinations? also



          anticompetitive
          plaintiff
                               why the IPC test is unnecessary                                     If     the    plaintiff          fails   to    show
                                effects it loses                     Once its showing                   fails         there is no benefit              to the     court




          demonstrated
          of adding                 the       IPC test The same point applies                                    to the       situation       where       the


                     is        able      to    show anticompetitive                         effects             If    competitive             harm is
                                there         is     no        need      to    add the IPC test                        The        only possible           effect         of

          adding                the    test        would          be possibly to cause                     a     false      negative




                           C FALSE POSITIVES FAILING THE IPC TEST DOES NOT PROVE
                                                                   ANTICOMPETITIVE                        EXCLUSION


               The             analysis            in   the previous             section has explained                        why passing the IPC test
          is   subject              to      false       negative          errors However                    there       are several reasons                   why the
          IPC test also can create                                     false    positive           errors First               a     negative       region       in      the




          resulting
          conditional                    pricing schedule does not automatically                                              mean that any realworld

          distributor                  is     purchasing               in     the region           where the IPC test is failed Second
                                                        below incremental                                                     some distributors the




          direct
          even            if    there         are                                           cost prices               for


                               input or customer                         foreclosure         may not be sufficient to                             cause    material

          harm            to     the entrant For                       example consider the scenario where                                         a   new entrant
          needs            to    obtain only a single                         distributor          but the           monopolist             outbids the entrant




          conduct
          at    some other                     distributors               or    where the entrant can                         rely    on cost effective
                     distribution                    Third there may be sufficient other competitors                                                   that     are not

          excluded so                       that        the     firm is unable             to     maintain or achieve                       monopoly power
          Fourth                there       may be sufficient procompetitive                                         benefits       flowing        from the
                      that          prevent             consumer harms



                                               D IPC TEST AS A PRUDENTIAL SAFE HARBOR
               This             analysis            has explained                why a threshold                       incremental            price cost could




          argument
          prudential?
          lead        to        significant               false        positives      and         false     negatives               Notwithstanding                   these

          errors some might                                    argue     that   the    IPC test can serve                      as a     one sided ?
                      safe harbor                    test to         protect     against          false     positives 158              However           this


                          does not                 make economic                 sense because                    the    IPC test is neither prudent
          nor simple It                       is   difficult           to implement and there is                         no clear nexus between the
          results              of     the     test       and the competitive                      effects        of     the    CPP



               157
                     Eisai Inc            v Sanofi Aventis US LLC 821 F 3d 394 409                                             3d    Cir 2016
               158
                     Gregory           J Werden                 supra note      21 at 418           ?Some             potentially       exclusionary       conduct        is

          appropriately placed                      in a prudential safe           harbor and thus               is   not subject      to   any   test.? AREEDA

          HOVENKAMP                    supra note              121       749e    at   342
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               Discarding                   the   IPC test as a possible ? safe harbor?                                 is     the    proper              outcome
          for       this       unreliable           predictor           If    a safe harbor          is   desired the                better      alternative

          would be to evaluate the market power                                           of   the defendant             If        the defendant lacks

          market               power         the use of              CPPs      to   achieve         monopoly power                    is less             likely    to




          injury
          succeed


                                                    E IPC TEST AND ANTITRUST                                    INJURY

               The IPC test also should                                not be the centerpiece                   of analysis               of antitrust

                         It    should not be             sufficient           for   the   plaintiff       to   show      that        the monopolist?s

          incremental                     prices    fall   short        of    incremental           costs      Instead the entrant                          should

          be     ready              to    explain how            its    costs       were raised           or   why the CPPs have led to
          barriers              to       entry    or expansion               or other     impediments              to   competition


               The                                                                                                why                                               on


          counterbidding
                              plaintiff          also should           be     prepared         to   explain                   it    could        not       rely

          direct              distribution          It   also should            be prepared            to   explain why                   its



                     failed or why                  it   reasonably            failed     to attempt        to counterbid                 The examples
          and analysis                     here     provide            some rationales but they must be supported                                                   by
          facts



               F FAILING THE IPC TEST AS EVIDENCE OF ANTICOMPETITIVE                                                                             PURPOSE

               If    the monopolist                      sets    a    price     below       its     marginal cost                  that   pricing           would
          appear               to    be economically                   irrational     for      a profit maximizing firm The firm
          would be                   losing       money          on     those       marginal sales Therefore                              it    would have
          been           more            profitable to           set    a     somewhat          higher         price    and          sell       less       Absent

          another              justification for            the below cost                prices      a court might infer that the goal
          of the pricing                    must have been                    to discipline         or destroy the rival




          procompetitive
               This use of the                    IPC test would be one sided While failing the test arguably




          competitively
          indicates                 anticompetitive              purpose passing the test does not                                   indicate

                               purpose or that                  the    defendant?s        conduct         is   procompetitive                    or

                          benign            for the      reasons discussed                  earlier Of course                      failing      the       test    also




          implementing
          does not prove anticompetitive                                     harm The conduct may be efficient                                       there        may
          be     sufficient               other     competitors                and so     on And the              potential           errors in

                                the       test    also reduce           its    probative          value



                               V PRICE AS THE PREDOMINANT                                                 MECHANISM                            AND
                                     PREDATORY                    ? CONDITIONAL?                      PRICING CLAIMS

               As noted                   earlier   the Third            Circuit     has opined           that    it    would use                a price cost

                                                                                                                                          159
          test      if        price       were the ? predominant                    mechanism?              for   exclusion                      This        raises




            159
                    ZF Meritor LLC                v Eaton Corp 696 F 3d 254 273? 74 3d Cir 2012 ? We do not disagree
          that      predatory             pricing   principles          including     the      price cost      test    would         control         if    this    case

          presented             solely     a challenge      to   Eaton?s pricing          practices.?       see Eisai          821    F 3d      at   409
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          the question                    of     what        it     means            for     price     to   be the predominant                      mechanism
          This         article            suggests               that     when          prices        are    made conditional                       on purchase
          shares the condition                              itself      can be treated as the predominant mechanism This

          view         is not inconsistent                         with the analysis                 or conclusions            in    Eisai Moreover                       it


          also        suggests                 that        Eisai        or          other     plaintiffs           might bring            separate                  counts

          against alleged                      predatory             conditional               pricing under           a modified Brooke Group

          test


               In      Eisai the court                       applied            the     RRC          foreclosure        paradigm            and          concluded




          Sanofi?s
          Eisai had               failed         to       introduce            sufficient          evidence of anticompetitive                            effects 160

          Given         their             other           findings          the court              essentially        rejected       the claim              that        the

          condition               mattered                 in that        case First the court was very skeptical                                           that




          selling
          customers
                       unique cardiology                             indication              led to significant           non contestable                       sales
                                                                                                                                                                         161



          Second             the       court did not think                          that     the   no steering provision                  in   the formulary

          access        agreement                    or     the alleged              deception         were significant barriers to
                     purchasing                more from Eisai 162                           Third Eisai was an established firm
                     directly             to     final       customers                 rather       than     distributors           with       low marginal
          cost 163       Given these                       determinations the court                          concluded             Eisai    had the ability

          to    compete on price Moreover                                            Eisai     apparently          gained     substantial            sales           when
                                               164
          it   cut its       prices                   In    fact        the     district       court    also    indicated          that   Eisai offered                  its

          own conditional price discounts165 and had its own                                                          unique indication
                                                                                                                                                          166
                                                                                                                                                                    These
          findings                supported                 the      court?s            conclusion             that     there        was        no         harm          to




          district
          competition


               Even          if     this        RRC          allegation               were rejected                however Sanofi?s pricing                              in

          principle               still    could            have        constituted             predatory          conditional         pricing             The
                      court concluded                       that     Sanofi           passed         a price cost        test      However               that        court

          apparently                applied               only the             APC test            using     the    discounted            prices 167                For a

          predatory               conditional pricing                           claim the appropriate                    price cost            test       would          be
          the        IPC test not                    the    APC test Sanofi?s pricing may have failed the IPC test
          In fact        a        Table         in    the        district       court        opinion        that reproduces           Sanofi?s discount

          schedule suggests                               that    Sanofi?s prices                   would      fail    the    IPC test over                     a   broad




               160
                     Eisai    821         F3d        at   407? 08
               161   Id at 406
               162   Id at 406? 07 As a                    factual      matter        this   view of the formulary           access clause          is   questionable

                summary judgment                                                                     would cause
                      30 down to a 1 discount
          on                                              The agreement              apparently                       a hospital     chain?s        discount         to fall

          from                                                            if   it    steered even one prescription            at   one hospital in the chain

          from Sanofi to Eisai                       However         for purposes            of this analysis      this article    takes the court?s                findings

          as a       given
               163
                     Id at 407
               164   Eisai Inc         v Sanofi Aventis                 U S LLC No 08 4168 2014 WL 1343254                                     at   27?28            D NJ
          Mar 28 2014
               165   Id at        11
               166
                     Eisai    821         F3d        at   406
               167
                     Eisai    2014         WL        1343254         at        30
world




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                  percent
                  range168              For     example               for       the highest        customer       tier    comparing           the prices

                  conditional             on a customer purchasing 90                                 or   99 percent         versus 74 percent of




                  supplying
                  its   needs           from Sanofi Sanofi?s incremental                                   revenue       from those 16? 25

                             point incremental                   purchases             would not only fall below                   positive     marginal

                  costs but also                would be negative                       Sanofi      would earn more revenue from
                                  74 percent           of      the    customer?s needs than 90                    or   99 percent 169 While the
                  opinion              does not provide                   information          on hospital       purchase shares           or    estimate

                  the impact              of the       CPP on those shares                         a fuller    analysis of the           IPC would        do




                  pricing
                  so

                        This          analysis      highlights              three      points       First courts         in   CPP     cases      may not
                  have           to   choose     between              the   RRC foreclosure                paradigm       and the predatory

                            paradigm They can apply                                  both types of         analysis      to   evaluate     whether         or

                  not the conduct                   violates              the    Sherman         Act under        either      of   the   two separate




                  approach
                  theories              Second         to      drive this dualistic              analytic       plaintiffs      might include            both

                  counts              in their complaints?                      one flowing from the              RRC foreclosure             paradigm




                  predatory
                  and a separate one                           flowing          from     the    predatory        pricing      paradigm That

                                      would     ask       the court             to   apply   the    price cost test        only     to   the predatory

                  conditional             pricing           count           Third       antitrust      analysis     of   CPPs under           the

                             pricing paradigm                        of    Brooke       Group should             apply     the     IPC    test      not the

                  APC test




                  analyzed
                  paradigm
                                                                                VI CONCLUSION

                        This          article   has         explained            why CPP allegations                generally        should         be
                                 under        the   RRC          foreclosure            paradigm not the predatory                       pricing




                  analysis
                                  This    analysis             should       apply the          rule   of   reason      and not use the IPC test
                  as    a   threshold           test      to    screen          out allegedly unmeritorious or weak                       claims That

                  use       of    the    IPC test does not lead to                       either       rigorous or accurate           antitrust

                            It    is    instead       a   path        to    higher      error      rates      While consumers benefit                    from
                  true      discounts           below           the   competitive            benchmark price             that   would occur in the

                  ?but for
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          tests         to   protect         consumers              and    to    protect       the firms that                 offer        CPPs Nor does
          this     article           advocate             that      courts       should         rely     on simpleminded                          foreclosure

          rates Instead                     a better approach                   is to   require the               plaintiff     to    carry the burden

          of having                to     prove         harm to competition                      under            the   rule    of         reason        standard




          defendant
          using         the       analytic          framework             set    out    in    the    RRC           foreclosure             paradigm This
                                                                                                                                                             s and


          antitrust
          standard             would require evidence                           that    the    CPP harms the                   targeted           rival

          that     it    also      harms consumers and the competitive                                            process       by allowing the
                             to   achieve            maintain or enhance                       its   market          power As part                  of   an
                        injury       analysis             the      plaintiff      also        would explain               why         it    was unable            to

          obtain             sufficient            distribution           by counterbidding                       for    distribution             or     why     its

          costs         were raised However                              this latter          analysis            would       examine             the    bidding

          process              not      a   price cost comparison


             This            article        also     has explained               that    courts         do not need              to        choose        between

          the     RRC foreclosure                         and predatory             pricing          paradigms            for    CPPs A complete
          analysis             could         apply        both         types of analysis                to    evaluate          whether             or       not the

          conduct             violates         the Sherman                Act depending on how                           the    plaintiff          frames        the

          complaint                The        rule of           reason under            an extended Brooke Group analysis                                        for

          predatory               conditional              pricing should               include         an    explicit         harm to competition
          prong not simply                          likely        recoupment             It   also should               use the       IPC test not the




          necessary
          APC test



          administer
             Finally the                    IPC test         is   sometimes            defended          on the grounds                    that   it    is


                   for        counseling                purposes         However              the    IPC test is          neither           easy to

                        nor       reliable in             its     predictions           There        also     are       alternatives              Counselors

          have          long       been        advising            clients      with     respect         to       exclusive          dealing           programs

          using the               traditional             rule of       reason         That      advice           can be used               for   conditional




          distributors
          indicator
          pricing programs                         as   well Basing advice on the assumption                                         that       the    CPP will
          lead     in effect            to    exclusive            dealing        or    near exclusive                  dealing            for affected

                               can be         a useful starting                 point    for      the   counselor Another                         key
                  is     the      market           power          of    the   firm Other              factors           are    the    fraction           of    sales


          made by affected                         distributors           whether             the competitors                 need         to   obtain        broad

          distribution               to      compete              effectively          whether          competitors             have cost effective
          alternatives               to     the foreclosed              distributors           and any cost penalty they                            will      suffer

          from the alleged foreclosure and the competitive                                                           constraints             placed          on the
          firm by other competitors                                and other products                   A counselor              also would want                  to


          determine               the       client?s true rationale                for    wanting            to    adopt the         CPP program and



          competitive
          whether              the      CPP is the least                  restrictive          means          to     achieve         a      procompetitive

          benefit            Use of these                 factors       also would lead to                   better      predictions              of the

                             effects          of    the    CPP than calculation                      of the         APC or IPC tests
